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                                   Exhibit A

                                  Stipulation
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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

                                                  Chapter 11
     In re
                                                  Bankruptcy Case No. 20-10343 (LSS)
     Boy Scouts of America and
     Delaware BSA, LLC,1                          (Jointly Administered)
                      Debtors.

     National Union Fire Insurance Co. of
     Pittsburgh, PA, et al.,

                      Appellants.
                                                  Case No. 22-cv-01237-RGA
     v.

     Boy Scouts of America, et al.,

                      Appellees.

           STIPULATION REGARDING CONFIDENTIALITY ORDERS AND
              FEDERAL RULE OF BANKRUPTCY PROCEDURE 8009(f)

             Boy Scouts of America and Delaware BSA, LLC (together, the “Debtors”),

 certain additional appellees (together with the Debtors, the “Appellees”), and one or

 more of the Certain Insurers,2 the claimants represented by Dumas & Vaughn, LLC,


 1
          The Debtors in the chapter 11 cases, together with the last four digits of each
          Debtor’s federal tax identification number, are as follows: Boy Scouts of America
          (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing address is 1325
          West Walnut Hill Lane, Irving, Texas 75038
 2
          The Certain Insurers are Allianz Global Risks US Insurance Company, National
          Surety Corporation, Interstate Fire & Casualty Company, Argonaut Insurance
          Company, Colony Insurance Company, Liberty Mutual Insurance Company,
          General Star Indemnity Company, Great American Assurance Company f/k/a
          Agricultural Insurance Company, Great American E&S Insurance Company f/k/a
                                                                       (Cont’d on next page)
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 and the claimants represented by Lujan & Wolff LLP (collectively, the “Appellants,”

 and with the Appellees, the “Parties”) hereby stipulate and agree as follows (the

 “Stipulation”):

       A.     WHEREAS, on March 23, 2020, the United States Bankruptcy Court

 for the District of Delaware (the “Bankruptcy Court”) entered the Final Order (I)

 Authorizing the Debtors to File (A) a Consolidated List of Counsel Representing the

 Largest Numbers of Abuse Victims and (B) a Consolidated List of Other Unsecured

 Creditors of the Debtors, (II) Authorizing and Approving Special Noticing And

 Confidentiality Procedures, and (III) Granting Related Relief [Bankr. D.I. 274] (the

 “Confidentiality Procedures Order”), a copy of which is attached hereto as Exhibit

 1, to, in part, protect the identities of abuse victims, minors, employees, volunteers

 and other applicable parties in interest in the Debtors’ chapter 11 cases when the

 Debtors and other parties in interest file items on the docket in the Bankruptcy Court;


    Agricultural Excess and Surplus Insurance Company, Great American E&S
    Insurance Company, Arch Insurance Company, Continental Insurance Company,
    Columbia Casualty Company, Indian Harbor Insurance Company on behalf of
    itself and as successor in interest to Catlin Specialty Insurance Company,
    Travelers Casualty and Surety Company, Inc. (f/k/a Aetna Casualty & Surety
    Company), St. Paul Surplus Lines Insurance Company, Gulf Insurance
    Company, Arrowood Indemnity Company, Gemini Insurance Company, Munich
    Reinsurance America, Inc., formerly known as American Re-Insurance
    Company, Traders and Pacific Insurance Company, Endurance American
    Specialty Insurance Company, Endurance American Insurance Company, Old
    Republic Insurance Company, National Union Fire Insurance Company of
    Pittsburgh, PA., Lexington Insurance Company, Landmark Insurance Company,
    and The Insurance Company of the State of Pennsylvania.


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       B.     WHEREAS, on June 26, 2020, the Bankruptcy Court entered the

 Order, Pursuant to 11 U.S.C. § 502(b)(9), Bankruptcy Rules 2002 and 3003(c)(3),

 and Local Rules 2002-1(e) and 3001-1, (I) Establishing Deadlines for Filing Proofs

 of Claim, (II) Establishing the Form and Manner of Notice Thereof, (III) Approving

 Procedures for Providing Notice of Bar Date and Other Important Information to

 Abuse Survivors, and (IV) Approving Confidentiality Procedures for Abuse

 Survivors [Bankr. D.I. 695] (the “Bar Date Order”), a copy of which is attached

 hereto as Exhibit 2, which contains confidentiality protocols in connection with

 proofs of claim filed by abuse survivors and requires that the Debtors and certain

 other parties keep confidential such proofs of claim;

       C.     WHEREAS, on June 8, 2020, the Bankruptcy Court entered the Order

 Approving Confidentiality and Protective Order [Bankr. D.I. 799] (the “Protective

 Order”), a copy of which is attached hereto as Exhibit 3, which reflects customary

 confidentiality protections routinely entered in bankruptcy matters, governs the

 Parties’ production, receipt, and permitted use of confidential information in the

 Debtors’ chapter 11 cases; and addresses the unique nature of certain documents at

 issue in the Debtors’ chapter 11 cases and the Consolidated Appeal (as defined

 below), including documents that contain highly sensitive information concerning

 sexual abuse and the identity of survivors and alleged perpetrators, and critical

 financial information concerning the Debtors’ and local councils’ operations;



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       D.     WHEREAS, throughout the Debtors’ chapter 11 cases, the Bankruptcy

 Court may have entered additional orders (with the Confidentiality Procedures

 Order, the Bar Date Order, and the Protective Order, the “Confidentiality Orders”)

 that contain confidentiality measures designed to protect certain parties in interest or

 keep confidential certain materials used in connection with matters before the

 Bankruptcy Court;

       E.     WHEREAS, on July 29, 2022, the Bankruptcy Court entered and

 docketed its Opinion [Bankr. D.I. 10136] (the “Opinion”) with respect to the Third

 Modified Fifth Amended Chapter 11 Plan of Reorganization (with Technical

 Modifications) for Boy Scouts of America and Delaware BSA, LLC [Bankr. D.I.

 10296] (as amended, the “Plan”);

       F.     WHEREAS, on September 8, 2022, the Bankruptcy Court docketed

 and entered its Supplemental Findings of Fact and Conclusions of Law and Order

 Confirming the Third Modified Fifth Amended Chapter 11 Plan of Reorganization

 (with Technical Modifications) for Boy Scouts of America and Delaware BSA, LLC

 [Bankr. D.I. 10316] (the “Confirmation Order”), confirming the Plan;

       G.     WHEREAS, the Appellants have sought review of the Bankruptcy

 Court’s confirmation of the Plan by the United States District Court for District of

 Delaware (the “Court”) through appeals from the Confirmation Order, the Opinion,




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 and all other subsumed orders pursuant to 28 U.S.C. § 158 and Rules 8001, et seq.,

 of the Federal Rules of Bankruptcy Procedure (collectively, the “Appeals”);

        H.    WHEREAS, on September 27, 2022, the Parties submitted to the Court

 a joint motion and proposed order regarding that certain Stipulation Regarding

 Appeals From Order Confirming Plan of Reorganization of Boy Scouts of America

 and Delaware BSA, LLC [D.I. 3], which, among other things, requested

 consolidation of the Appeals;

        I.    WHEREAS, the Appellants and Appellees filed their respective

 designations of records (collectively, the “Designations of Record”) in the Appeals

 on October 3, 2022 and October 6, 2022,3 respectively;

        J.    WHEREAS, on October 17, 2022, the Court entered the Order

 Granting Motion on Stipulation Regarding Appeals From Order Confirming Plan

 of Reorganization of Boy Scouts of America and Delaware BSA, LLC [D.I. 14] (the

 “Order”) and consolidated the Appeals into the above-captioned appeal (the

 “Consolidated Appeal”);

        K.    WHEREAS, the Designations of Record designated certain sealed

 documents from the Bankruptcy Court that contain confidential information subject

 to the Confidentiality Orders;



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     In the Consolidated Appeal, the Designations of Record can be found at D.I. 5
     and D.I. 15, respectively.

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       L.       WHEREAS, the Parties’ briefs in the Consolidated Appeal will likely

 contain or cite to sealed confidential information subject to the Confidentiality

 Orders;

       M.       WHEREAS, the Parties agree that the Confidentiality Orders should

 govern the Parties’ production, filing, receipt, and use of confidential and sealed

 information in this Consolidated Appeal;

       N.       WHEREAS, the Parties desire to file this Stipulation in lieu of filing

 duplicative motions to accept certain documents under seal as required by Rule

 8009(f) of the Federal Rules of Bankruptcy Procedure;

       NOW, THEREFORE, it is hereby stipulated and agreed to by and among

 the Parties:

       1.       The Parties shall file a proposed order approving this Stipulation in the

 Consolidated Appeal and such filing shall be construed as a request that the Court

 approve the Confidentiality Orders.

       2.       The Parties remain subject to the Confidentiality Orders in the

 Consolidated Appeal.

       3.       Subject to the Court entering an order approving this Stipulation, the

 Parties are not required to file motions under Rule 8009(f) of the Federal Rules of

 Bankruptcy Procedure to protect confidential information otherwise governed by the

 Confidentiality Orders.



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       4.     Documents containing confidential information subject to the

 Confidentiality Orders shall be filed under seal with the Court in accordance with D.

 Del. LR 5.1.3. Such documents shall remain under seal in this Court without the

 need for individual sealing motions. A redacted version of each document filed

 under seal must be filed electronically within seven (7) days of service of the sealed

 version of each document.

       5.     The procedures set out in the Order, Rules 8001, et seq., of the Federal

 Rules of Bankruptcy Procedure (including Bankruptcy Rule 8009(f), except as

 modified herein), and the local rules of this Court and the Bankruptcy Court, shall

 apply to the Consolidated Appeal.




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 Dated: November 7, 2022

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                                                 committee

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                         EXHIBIT 1
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


  In re:                                                         Chapter 11

  BOY SCOUTS OF AMERICA AND                                      Case No. 20-10343 (LSS)
  DELAWARE BSA, LLC,1
                                                                 (Jointly Administered)
                             Debtors.
                                                                 Ref. Docket Nos. 9, 66 & 264

  FINAL ORDER (I) AUTHORIZING THE DEBTORS TO FILE (A) A CONSOLIDATED
     LIST OF COUNSEL REPRESENTING THE LARGEST NUMBERS OF ABUSE
  VICTIMS AND (B) A CONSOLIDATED LIST OF OTHER UNSECURED CREDITORS
   OF THE DEBTORS, (II) AUTHORIZING AND APPROVING SPECIAL NOTICING
  AND CONFIDENTIALITY PROCEDURES, AND (III) GRANTING RELATED RELIEF

           Upon the motion (“Motion”)2 of the Boy Scouts of America and Delaware BSA, LLC,

  the non-profit corporations that are debtors and debtors in possession in the above-captioned

  chapter 11 cases (the “Debtors”), for entry of an order (this “Final Order”), (i) authorizing the

  Debtors to file (a) the Top Plaintiffs’ Counsel List and (b) the Unsecured Creditors List, in lieu

  of a list of holders of the twenty (20) largest unsecured claims for each Debtor, (ii) authorizing

  and approving special noticing and confidentiality procedures to protect the identities of victims

  of abuse, minors, employees, and volunteers, and (iii) authorizing the Debtors to implement

  certain procedures for the mailing and publication of the notice announcing the commencement

  of these chapter 11 cases and the meeting of creditors to be held pursuant to section 341 of the

  Bankruptcy Code; and upon consideration of the First Day Declaration; and this Court having

  jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 the Amended Standing Order


  1
   The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
  number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
  address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
  2
   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
  Motion.
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  of Reference from the United States District Court for the District of Delaware, dated February

  29, 2012; and this matter being a core proceeding within the meaning of 28 U.S.C. § 157(b)(2);

  and the Debtors consent to the entry of a final order by this Court under Article III of the United

  States Constitution; and venue of this proceeding and the Motion in this District being proper

  pursuant to 28 U.S.C. §§ 1408 and 1409; and appropriate notice of and the opportunity for a

  hearing on the Motion having been given and it appearing that no other or further notice need be

  provided; and this Court having reviewed the Motion and having heard the statements in support

  of the relief requested therein at a hearing before this Court; and all objections, if any, to the

  Motion having been withdrawn, resolved or overruled; and the relief requested in the Motion

  being in the best interests of the Debtors’ estates, their creditors and other parties in interest; and

  this Court having determined that the legal and factual bases set forth in the Motion establish just

  cause for the relief granted herein; and after due deliberation and sufficient cause appearing

  therefor, it is HEREBY ORDERED THAT:

         1.      The relief requested in the Motion is GRANTED on final basis as set forth herein.

         2.      The Debtors are authorized to file, in lieu of filing a list of the individual holders

  of the twenty (20) largest unsecured claims for each Debtor: (a) a single consolidated list of the

  twenty-five (25) law firms representing the largest numbers of abuse victims asserting claims

  against the Debtors (the “Top Plaintiffs’ Counsel List”); and (b) a single consolidated list of the

  creditors holding the thirty (30) largest unsecured claims against the Debtors other than Abuse

  Claims (the “Unsecured Creditors List”).

         3.      For purposes of the Top Plaintiffs’ Counsel List and the Unsecured Creditors List,

  the Debtors are authorized to: (a) list the contact information of counsel of record for the holders

  of Abuse Claims and for minors, in lieu of the personal contact information of such holders of




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  Abuse Claims and minors, (b) redact the names of and personal contact information for any

  minors and their parents or legal guardians, as applicable, and (c) redact the personal contact

  information of any current and former employees.

             4.       To protect the identities of abuse victims, minors, employees, volunteers, and

  other applicable parties in interest, the following “Confidentiality Procedures” are hereby

  approved:

                      (a)     the Debtors shall file on the docket of these chapter 11 cases a copy of the
                              Creditor Matrix:3

                              (i)      redacting the names of and listing the contact information for
                                       counsel of record, where known, for, (A) each holder of an Abuse
                                       Claim, including the Doe Claimants, and (B) the parents or legal
                                       guardian of any minor involved in litigation against either of the
                                       Debtors, in each case in lieu of including the names and personal
                                       contact information of any holder of an Abuse Claim or parents or
                                       legal guardian of any such minor. In the event that no counsel of
                                       record is known to the Debtors, the identities and all other personal
                                       contact information of holders of Abuse Claims, including the Doe
                                       Claimants, minors, and parents or legal guardians of minors
                                       involved in litigation against either of the Debtors, shall be
                                       redacted; and

                              (ii)     redacting personal contact information for any current or former
                                       employee or volunteer of the Debtors.

                      (b)     the Debtors shall provide, upon request, an unredacted copy of the
                              Creditor Matrix within two (2) business days of the filing of such Creditor
                              Matrix to the following parties (collectively, the “Distribution Parties”):4
                              (i) the U.S. Trustee; (ii) the official committee of unsecured creditors;
                              (iii) the official committee of survivors of abuse; and (iv) the proposed
                              future claimants’ representative;

                      (c)     all documents filed in these chapter 11 cases, including, without
                              limitation, affidavits of service, schedules of assets and liabilities, and
                              statements of financial affairs, shall be filed on the docket in redacted
                              form in accordance with paragraph 4(a) of this Final Order;

  3
      Redacted copies of any amended Creditor Matrices will be made available upon request to the Debtors.
  4
    Unredacted copies of any amended Creditor Matrices will be made available upon request to the Debtors by any of
  the Distribution Parties.


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                   (d)      the Debtors shall, within two (2) business days of a request of any
                            Distribution Party, provide to such Distribution Party an unredacted copy
                            of any document filed on the docket of these chapter 11 cases that has
                            been redacted in accordance with these Confidentiality Procedures; and

                   (e)      the Distribution Parties shall keep strictly confidential all copies of
                            unredacted documents provided by the Debtors in accordance with
                            paragraphs 4(b) or (d) of this Final Order.

          5.       The Debtors shall, through the Claims and Noticing Agent, send required notices,

  mailings, and other communications to: (i) holders of Abuse Claims for whom the Debtors

  obtained sufficient contact information within the three years immediately preceding the Petition

  Date, or on or after Petition Date, and who have: (a) filed, or threatened to file, lawsuits against

  the Debtors on account of Abuse Claims; (b) otherwise contacted the Debtors to report Abuse

  Claims; (c) entered into any settlement agreement with the Debtors relating to an Abuse Claim;

  or (d) received any payment from the Debtors relating to an Abuse Claim; and (ii) counsel of

  record for the holders of Abuse Claims. This paragraph 5 shall not apply to the Abuse Claims

  Bar Date Notice.5

          6.       Notwithstanding the paragraph 5 of this Final Order, any holder of an Abuse

  Claim may instruct the Debtors to send all required notices, mailings, and other communications

  only to counsel of record for such holder by completing and submitting (or directing his or her

  counsel of record to complete and submit on such holder’s behalf) the form attached hereto as

  Exhibit 1 (the “Noticing Designation Form”). Counsel of record may submit a single Noticing

  Designation Form on behalf of multiple clients by affixing a schedule listing the applicable

  clients to an executed Noticing Designation Form.                  Upon receipt of a completed Noticing

  5
    For purposes of this Final Order, the term “Abuse Claims Bar Date Notice” shall have the meaning ascribed to
  such term in the Debtors’ Motion, Pursuant to 11 U.S.C. § 502(b)(9), Bankruptcy Rules 2002 and 3003(C)(3), and
  Local Rules 2002-1(E), 3001-1, and 3003-1, for Authority to (I) Establish Deadlines for Filing Proofs of Claim, (II)
  Establish the Form and Manner of Notice Thereof, (III) Approve Procedures for Providing Notice of Bar Date and
  Other Important Information to Abuse Victims, and (IV) Approve Confidentiality Procedures for Abuse Victims
  [Docket No. 18].


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  Designation Form, the Debtors will, through the Claims and Noticing Agent, send all required

  notices, mailings, and other communications only to counsel of record for the applicable holder.6

  If during the pendency of these cases the Debtors determine that any required notice, mailing, or

  other communication should be sent directly to all holders of Abuse Claims, including to holders

  of Abuse Claims who have completed and submitted a Noticing Designation Form, the Debtors

  shall confer with the Tort Claimants’ Committee with respect to such determination and, if the

  Debtors and the Tort Claimants’ Committee are unable to agree on the terms of the Debtors’

  direct noticing of all holders of Abuse Claims, then the Debtors or the Tort Claimants’

  Committee may notice such dispute for a hearing before this Court.

          7.       The form and manner of notice provided herein, including in the Confidentiality

  Procedures, are reasonably calculated to inform interested parties of these chapter 11 cases and

  are hereby approved in their entirety.

          8.       The Debtors are authorized to take all actions necessary to effectuate the relief

  granted in this Final Order in accordance with the Motion.

          9.       This Court shall retain exclusive jurisdiction with respect to all matters arising

  from or related to the implementation, interpretation, and enforcement of this Final Order.




  6
   The Debtors will keep confidential all completed Noticing Designation Forms; provided, however, that completed
  Noticing Designation Forms shall be provided to a Distribution Party in accordance with Paragraph 4(d) and 4(e)
  above. Dated: March 23rd, 2020                             LAURIE SELBER SILVERSTEIN
         Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE

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                                      Exhibit 1

                              Noticing Designation Form
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


  In re:                                                         Chapter 11

  BOY SCOUTS OF AMERICA AND                                      Case No. 20-10343 (LSS)
  DELAWARE BSA, LLC,1
                                                                 (Jointly Administered)
                             Debtors.


           NOTICING DESIGNATION FORM FOR HOLDERS OF ABUSE CLAIMS

                     PLEASE SUBMIT THIS FORM ONLY TO THE
                  ADDRESSES LISTED AT THE END OF THIS FORM.
              DO NOT FILE THIS FORM WITH THE BANKRUPTCY COURT.

         On ___________, 2020, the United States Bankruptcy Court for the District of Delaware
  entered the Final Order (I) Authorizing the Debtors to File (A) a Consolidated List of Counsel
  Representing the Largest Numbers of Abuse Victims and (B) a Consolidated List of Other
  Unsecured Creditors of the Debtors, (II) Authorizing and Approving Special Noticing and
  Confidentiality Procedures, and (III) Granting Related Relief [Docket No. ___] (the “Order”).2

          The Order provides that any holder of an Abuse Claim may instruct the Debtors to send
  all required notices, mailings, and other communications only to counsel of record for such
  holder by completing and submitting (or directing his or her counsel of record to complete and
  submit on such holder’s behalf) this form.

  (Check One)

                     I, ____________________, am the holder of an Abuse Claim, and I instruct
                     the Debtors to send all required notices, mailings, and other communications
                     only to my attorney, who I have identified below under the heading “Counsel
                     of Record Designation” below.

                     I, ____________________, affirm under penalty of perjury that I am retained
                     counsel for the holder or holders of Abuse Claims identified below, and that
                     my client(s) has/have requested that all required notices, mailings, and other
                     communications be sent only to me on their behalf at the address listed below.


  1
   The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
  number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
  address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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   All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
  Order.
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  Name of Holder of Abuse Claim:3

  Mailing Address:

  City, State and Zip Code:
                                  COUNSEL OF RECORD DESIGNATION
  Name of Attorney to Receive Notice:

  Law Firm:

  Mailing Address:

  City, State and Zip Code:

  Telephone Number:

  Attorney Email Address:



  Dated:

  Printed Name:

  Signature:


  THIS ENTIRE FORM MUST BE COMPLETED AND RETURNED SO THAT IT IS
  RECEIVED BY EACH OF THE FOLLOWING PARTIES.

                  Sidley Austin LLP
                  Attn: Blair M. Warner
                  One South Dearborn Street
                  Chicago, Illinois 60603

                  BSA Noticing Designation Form
                  c/o Omni Agent Solutions
                  5955 De Soto Ave., Suite 100
                  Woodland Hills, CA 91367


  3
      Additional holders and their addresses may be listed on additional pages as necessary.



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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


  In re:                                                         Chapter 11

  BOY SCOUTS OF AMERICA AND                                      Case No. 20-10343 (LSS)
  DELAWARE BSA, LLC, 1
                                                                 (Jointly Administered)
                             Debtors.
                                                                 Ref. Docket Nos. 18, 556, 557, 601, 603, 610, 630,
                                                                 631, 632, 651, 656, 659 & 667

           ORDER, PURSUANT TO 11 U.S.C. § 502(b)(9), BANKRUPTCY RULES 2002
                AND 3003(c)(3), AND LOCAL RULES 2002-1(e), 3001-1, AND 3003-1,
               (I) ESTABLISHING DEADLINES FOR FILING PROOFS OF CLAIM,
           (II) ESTABLISHING THE FORM AND MANNER OF NOTICE THEREOF,
         (III) APPROVING PROCEDURES FOR PROVIDING NOTICE OF BAR DATE
          AND OTHER IMPORTANT INFORMATION TO ABUSE SURVIVORS, AND
      (IV) APPROVING CONFIDENTIALITY PROCEDURES FOR ABUSE SURVIVORS

           Upon the motion (the “Motion”) 2 of the Boy Scouts of America and Delaware BSA,

  LLC, the non-profit corporations that are debtors and debtors in possession in the above-

  captioned chapter 11 cases (together, the “Debtors”) for entry of an order (this “Order”),

  (i) establishing deadlines by which General Proofs of Claim and proofs of claim submitted by

  Sexual Abuse Survivors (as defined below) (“Sexual Abuse Survivor Proofs of Claim”) against

  the Debtors’ estates are to be filed, (ii) approving the proposed procedures for filing General

  Proofs of Claim and Sexual Abuse Survivor Proofs of Claim, including special procedures for

  holders of Sexual Abuse Claims (“Sexual Abuse Survivors”) to file confidential Sexual Abuse

  Survivor Proofs of Claim, (iii) approving the proposed procedures for notice of the bar dates,

  including the form of Bar Date Notices, (iv) approving the General Proof of Claim Form and the

  1
   The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
  number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
  address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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   All capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the
  Motion.
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  Sexual Abuse Survivor Proof of Claim Form, (v) approving the forms of supplemental notice

  and procedures for providing notice to unknown Sexual Abuse Survivors and other unknown

  creditors and parties in interest, and (vi) granting related relief; and upon consideration of the

  First Day Declaration, the declaration and supplemental declaration of Shannon Wheatman in

  support of the Motion and the Supplemental Notice Plan (together, the “Wheatman

  Declarations”); and certain objections and responses to the Motion (and joinders to such

  objections and responses) having been filed, including, without limitation, Docket Nos. 601, 603,

  610, 651, 656 and 659 (each, an “Objection” and, collectively, the “Objections”); and upon

  consideration of the Supplement to Debtors’ Bar Date Motion [Docket No. 557] (the

  “Supplement”) and the Debtors’ Omnibus Reply in Support of Bar Date Motion [Docket No.

  630] (the “Reply”); and this Court having jurisdiction over this matter pursuant to 28 U.S.C.

  § 1334 and the Amended Standing Order of Reference from the United States District Court for

  the District of Delaware, dated February 29, 2012; and this matter being a core proceeding

  within the meaning of 28 U.S.C. § 157(b)(2); and the Debtors having consented to the entry of a

  final order by this Court under Article III of the United States Constitution; and venue of this

  proceeding and the Motion in this district being proper pursuant to 28 U.S.C. §§ 1408 and 1409;

  and this Court having found that the Debtors’ notice of the Motion and opportunity for a hearing

  on the Motion were appropriate under the circumstances and no other notice need be provided;

  and this Court having reviewed the Motion and having heard the statements in support of the

  relief requested therein at a hearing before this Court held on May 18, 2020; and all Objections

  to the Motion having been withdrawn, resolved or overruled; and the relief requested in the

  Motion being in the best interests of the Debtors’ estates, their creditors and other parties in

  interest; and this Court having determined that the legal and factual bases set forth in the Motion




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  establish just cause for the relief granted herein; and after due deliberation and sufficient cause

  appearing therefor, it is HEREBY ORDERED THAT:

         1.      The relief requested in the Motion is GRANTED as set forth herein.

         2.      The following procedures for filing General Proofs of Claim are approved:

                 (a)    Unless otherwise provided herein, the General Bar Date shall be 5:00 p.m.
                        (prevailing Eastern Time) on November 16, 2020.

                 (b)    Unless otherwise provided herein, the Governmental Bar Date shall be
                        August 17, 2020 at 5:00 p.m. (prevailing Eastern Time).

                 (c)    General Proofs of Claim must: (i) be written in the English language;
                        (ii) be denominated in lawful currency of the United States as of the
                        Petition Date (using the exchange rate, if applicable, as of the Petition
                        Date); (iii) conform substantially to the General Proof of Claim Form
                        attached to this Order as Exhibit 6 or Official Bankruptcy Form No. 410;
                        (iv) specify by name and case number the Debtor against which the
                        General Proof of Claim is filed; (v) set forth with specificity the legal and
                        factual basis for the alleged claim; (vi) include supporting documentation
                        for the claim or an explanation as to why such documentation is not
                        available, provided, however, that if the claimant elects not to supplement
                        their proof of claim by attaching supporting documentation at the time of
                        filing a claim, the absence of supporting documentation by itself will not
                        automatically result in the disallowance of the claim, although the
                        claimant may be asked or required to provide additional information or
                        supporting documentation at a later date, and the claim may be subject to
                        an objection on the grounds that the claimant failed to include any
                        supporting documentation to indicate the existence of a claim, as required
                        by Bankruptcy Rule 3001(c); and (vii) be signed by the claimant or, if the
                        claimant is not an individual, by an authorized agent or authorized
                        representative of the claimant.

                 (d)    Any General Proof of Claim that does not clearly identify the Debtor
                        against which the claim is asserted and the case number will be deemed as
                        being submitted only against the Boy Scouts of America.

                 (e)    If a claimant asserts a claim against more than one Debtor or has claims
                        against both Debtors, the claimant must file a separate General Proof of
                        Claim against each Debtor. To the extent a submitted General Proof of
                        Claim identifies more than one Debtor, such proof of claim will be
                        deemed as being submitted only against the first-identified Debtor.

                 (f)    General Proofs of Claim must be filed either (i) electronically through the
                        Claims and Noticing Agent’s website using the interface available on the


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                     website located at http://www.omniagentsolutions.com/bsaclaims (the
                     “Electronic Filing System”) or (ii) by delivering the original General Proof
                     of Claim by hand, or mailing the original General Proof of Claim so that it
                     is received by the Claims and Noticing Agent on or before the General Bar
                     Date as follows:

                            BSA Claims Processing
                            c/o Omni Agent Solutions
                            5955 De Soto Ave., Suite 100
                            Woodland Hills, CA 91367

               (g)   A General Proof of Claim shall be deemed timely filed only if it is
                     actually received by the Claims and Noticing Agent (i) at the address
                     listed in subparagraph (f) above or (ii) electronically through the
                     Electronic Filing System on or before the General Bar Date or
                     Governmental Bar Date, as applicable.

               (h)   General Proofs of Claim sent by email, facsimile, or telecopy transmission
                     (other than General Proofs of Claim filed electronically through the
                     Electronic Filing System) shall not be accepted.

               (i)   Any person or entity (including, without limitation, individuals,
                     partnerships, corporations, joint ventures, trusts, and Governmental Units)
                     that asserts a claim that arises from the rejection of an executory contract
                     or unexpired lease must file a General Proof of Claim based on such
                     rejection by the later of (i) the General Bar Date or Governmental Bar
                     Date, as applicable, and (ii) the date that is thirty (30) days following the
                     entry of the Court order approving such rejection, (which order may be the
                     order confirming a chapter 11 plan in the Debtors’ chapter 11 cases) or
                     shall not be treated as a creditor with respect to such claim for the
                     purposes of voting and distribution.

               (j)   Notwithstanding the foregoing, a party to an executory contract or
                     unexpired lease that asserts a claim on account of unpaid amounts accrued
                     and outstanding as of the Petition Date pursuant to such executory contract
                     or unexpired lease (other than a rejection damages claim) must file a
                     General Proof of Claim for such amounts on or before the General Bar
                     Date or Governmental Bar Date, as applicable, unless an exception
                     identified in subparagraph (m) below applies.

               (k)   In the event that the Debtors amend or supplement their Schedules
                     subsequent to the date of entry of this Order, the Debtors shall give notice
                     of any amendment or supplement to the holders of claims affected thereby,
                     and such holders who have not previously filed a proof of claim shall have
                     until the later of (i) the General Bar Date and (ii) thirty (30) days from the
                     date of such notice to file a General Proof of Claim or be barred from
                     doing so and shall be given notice of such deadline.


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                (l)     Any person or entity that relies on the Schedules has the responsibility to
                        determine that its claim is accurately listed in the Schedules.

                (m)     The following persons or entities are not required to file a General Proof
                        of Claim on or before the General Bar Date, solely with respect to the
                        claims described below:

                        (1)    any person or entity whose claim is listed on the Schedules;
                               provided that (i) the claim is not listed on the Schedules as
                               “disputed,” “contingent,” or “unliquidated,” (ii) the person or
                               entity does not dispute the amount, nature, and priority of the claim
                               as set forth in the Schedules, and (iii) the person or entity does not
                               dispute that the claim is an obligation of the specific Debtor
                               against which the claim is listed in the Schedules;

                        (2)    any person or entity whose claim has been paid in full;

                        (3)    any holder of a claim allowable under section 503(b) and 507(a)(2)
                               of the Bankruptcy Code as an administrative expense (other than
                               a holder of a section 503(b)(9) claim);

                        (4)    any person or entity who holds a claim that heretofore has been
                               allowed by order of this Court entered on or before the applicable
                               Bar Date;

                        (5)    any holder of a claim for which a separate deadline has been fixed
                               by order of this Court;

                        (6)    any person or entity who has, as of the date of this Order, already
                               filed a Proof of Claim with the Claims and Noticing Agent or the
                               Court, utilizing a claim form that substantially conforms to the
                               General Proof of Claim Form or Official Bankruptcy Form No.
                               410; provided, however, that a Sexual Abuse Survivor who also
                               holds or asserts a claim other than an Abuse Claim must file a
                               General Proof of Claim by the General Bar Date; or

                        (7)    either Debtor in these chapter 11 cases having a claim against the
                               other Debtor in these chapter 11 cases.

         3.     An individual should submit a Sexual Abuse Survivor Proof of Claim, in the form

  annexed to this Order as Exhibit 7, and not a General Proof of Claim, if the individual holds a

  claim against the Debtors and/or the Debtors and a Local Council or chartered organization that

  is attributable to, arises from, is based upon, relates to, or results from, in whole or in part,

  directly, indirectly, or derivatively, “Sexual Abuse.”    For purposes of this Order, “Sexual


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  Abuse” means, with respect to a child under the age of eighteen (18) at the time of the sexual

  abuse, sexual conduct or misconduct, sexual abuse or molestation, sexual exploitation, sexual

  touching, sexualized interaction, sexual comments about a person’s body, or other verbal or non-

  verbal behaviors that facilitated, contributed to, or led up to abuse, regardless of whether or not

  such behavior was itself sexual or against the law, and regardless of whether the child thought

  the behavior was sexual abuse at the time. Sexual Abuse includes behavior between a child and

  an adult and between a child and another child, in each instance without regard to whether such

  activity involved explicit force, whether such activity involved genital or other physical contact,

  and whether the child associated the abuse with any physical, psychological, or emotional

  harm. Sexual Abuse involves behaviors including penetration or fondling of the child’s body,

  other body-on-body contact, or non-contact, behaviors such as observing or making images of a

  child’s naked body, showing or making pornography, or having children behave in sexual

  behavior as a group.

         4.      The following procedures for filing a Sexual Abuse Survivor Proof of Claim are

  approved:

                 (a)     Unless otherwise provided herein, the Abuse Claims Bar Date shall be
                         5:00 p.m. (prevailing Eastern Time) on November 16, 2020.

                 (b)     Sexual Abuse Survivor Proofs of Claim must: (i) be written in the
                         English language; (ii) be denominated in lawful currency of the United
                         States as of the Petition Date (using the exchange rate, if applicable, as of
                         the Petition Date); (iii) conform substantially to the Sexual Abuse
                         Survivor Proof of Claim Form annexed to this Order as Exhibit 7; (iv) set
                         forth with specificity the legal and factual basis for the alleged claim,
                         including all of the information requested in the Sexual Abuse Survivor
                         Proof of Claim Form; and (v) be signed by the Sexual Abuse Survivor.

                 (c)     Any Sexual Abuse Survivor Proof of Claim that does not clearly identify
                         the Debtor against which the claim is asserted and the case number will be
                         deemed as being submitted only against Boy Scouts of America.




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               (d)   To the extent a submitted Sexual Abuse Survivor Proof of Claim identifies
                     more than one Debtor, such proof of claim will be deemed as being
                     submitted only against Boy Scouts of America.

               (e)   Sexual Abuse Survivor Proofs of Claim must be filed either
                     (i) electronically through the Electronic Filing System available on the
                     website located at www.OfficialBSAClaims.com or (ii) by delivering the
                     original Sexual Abuse Survivor Proof of Claim Form by hand, or mailing
                     the original Sexual Abuse Survivor Proof of Claim Form on or before the
                     Abuse Claims Bar Date as follows:

                            BSA Abuse Claims Processing
                            c/o Omni Agent Solutions
                            5955 De Soto Ave., Suite 100
                            Woodland Hills, CA 91367

               (f)   A Sexual Abuse Survivor Proof of Claim shall be deemed timely received
                     only if it is actually received by the Claims and Noticing Agent (i) at the
                     address listed above in subparagraph (e) or (ii) electronically through the
                     Electronic Filing System available at www.OfficialBSAClaims.com on or
                     before the Abuse Claims Bar Date.

               (g)   Sexual Abuse Survivor Proofs of Claim sent by email, facsimile, or
                     telecopy transmission (other than Sexual Abuse Survivor Proofs of Claim
                     filed electronically through the Electronic Filing System) shall not be
                     accepted.

               (h)   Any Sexual Abuse Survivor who believes that she or he has a Sexual
                     Abuse Claim, including but not limited to Sexual Abuse Survivors
                     who have previously filed lawsuits or asserted claims against the
                     Debtors and/or the Debtors and a Local Council or chartered
                     organization, Sexual Abuse Survivors who have called the Scouts
                     First Hotline or otherwise reported a claim of Sexual Abuse, and
                     Sexual Abuse Survivors who have never filed a lawsuit, asserted a
                     claim against the Debtors, entered into a settlement, or reported their
                     abuse, must submit the applicable Sexual Abuse Survivor Proof of
                     Claim Form. For the avoidance of doubt, even if the Sexual Abuse
                     Claim is time-barred under an applicable statute of limitations, each
                     Sexual Abuse Survivor is required to file a Sexual Abuse Survivor
                     Proof of Claim in order to preserve the right to pursue a Sexual
                     Abuse Claim, or such Sexual Abuse Survivor who fails to timely file a
                     Sexual Abuse Survivor Proof of Claim shall not be treated as a
                     creditor with respect to such claim for the purposes of voting and
                     distribution. Any Sexual Abuse Survivor must file the applicable Sexual
                     Abuse Survivor Proof of Claim even if such claimant may be included in,
                     or represented by, another action filed against the Debtors with respect to
                     such claimant’s Sexual Abuse Claim.


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               (i)   The following persons are not required to file a Sexual Abuse Survivor
                     Proof of Claim on or before the Abuse Claims Bar Date, solely with
                     respect to the claims described below:

                     (1)    any person who has a claim arising from sexual abuse and was at
                            least eighteen (18) years of age at the time the sexual abuse began;

                     (2)    any person who is not a Sexual Abuse Survivor, including
                            claimants with claims arising from other types of non-sexual
                            abuse, including non-sexual physical abuse, non-sexual emotional
                            abuse, bullying or hazing;

                     (3)    any Sexual Abuse Survivor whose claim has been paid in full;
                            provided, however, that this subsection does not include Sexual
                            Abuse Survivors who were paid pursuant to settlement
                            agreements but who believe they have additional claims against
                            the Debtors beyond what was agreed to in the applicable
                            settlement agreement;

                     (4)    any Sexual Abuse Survivor who has, as of the date of this Order,
                            already filed a Sexual Abuse Survivor Proof of Claim with the
                            Claims and Noticing Agent or the Court, utilizing a claim form that
                            substantially conforms to the Sexual Abuse Survivor Proof of
                            Claim Form or Official Bankruptcy Form No. 410, provided,
                            however, that a Sexual Abuse Survivor who also holds or asserts a
                            claim other than a Sexual Abuse Claim must file a General Proof
                            of Claim by the General Bar Date; provided further, that any
                            Sexual Abuse Survivor who has, as of the date of this Order,
                            already filed a proof of claim on account of a Sexual Abuse Claim
                            using a form other than the Sexual Abuse Survivor Proof of Claim
                            Form, including Official Bankruptcy Form No. 410, may
                            subsequently be required to answer additional questions regarding
                            such Sexual Abuse Claim, including the questions set forth on the
                            Sexual Abuse Survivor Proof of Claim Form, in connection with
                            the administration of his or her Sexual Abuse Claim;

                     (5)    any Sexual Abuse Survivor who holds a claim that heretofore has
                            been allowed by order of this Court entered on or before the
                            applicable Abuse Claims Bar Date;

                     (6)    any individual holding a claim based on abuse that occurred prior
                            to the Petition Date, but who (a) had not attained eighteen (18)
                            years of age as of the date immediately preceding the Petition
                            Date, or (b) was not aware of their Sexual Abuse Claim as a result
                            of “repressed memory,” to the extent the concept of repressed
                            memory is recognized by the highest appellate court of the State or
                            territory where the claim arose; and


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                             (7)      the Future Claimants’ Representative (as defined in the Motion for
                                      Entry of an Order Appointing James L. Patton, Jr., as Legal
                                      Representative for Future Claimants, Nunc Pro Tunc to the
                                      Petition Date) [Docket No. 223], as modified, amended, or
                                      supplemented). 3

           5.       The procedures set forth in paragraph 4 above shall apply to all Sexual Abuse

  Survivors only, and, unless otherwise subject to one of the exceptions specifically enumerated

  above, each Sexual Abuse Survivor (including Sexual Abuse Survivors (i) whose Sexual Abuse

  Claims may otherwise be included in, or represented by, a lawsuit or action filed against the

  Debtors, and (ii) even if a Sexual Abuse Survivor’s Sexual Abuse Claim is time-barred

  under an applicable statute of limitations, in order to preserve the right to pursue a Sexual

  Abuse Claim), shall be required to file a Sexual Abuse Survivor Proof of Claim on or before the

  Abuse Claims Bar Date or shall not be treated as a creditor with respect to such claim for the

  purposes of voting and distribution.

           6.       An individual with a claim arising from sexual abuse who was at least eighteen

  (18) years of age when the sexual abuse began (including claimants (i) whose claims may

  otherwise be included in, or represented by, a lawsuit or action filed against the Debtors, and (ii)

  even if such claim is time-barred under an applicable statute of limitations, in order to

  preserve the right to pursue such claim), shall be required to file a General Proof of Claim on

  or before the General Bar Date or shall not be treated as a creditor with respect to such claim for

  the purposes of voting and distribution.

           7.       The following “Confidentiality Protocol” shall apply only with respect to all

  Proofs of Claim filed after the date of this Order:



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    Neither the exemption set forth in this subparagraph (i)(5), nor anything else in this Order, should be construed as a
  finding or conclusion that Sexual Abuse Claims of Future Claimants are not “claims” as defined in Bankruptcy Code
  section 101(5).



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              (a)    Sexual Abuse Survivors are directed not to file a Sexual Abuse Survivor
                     Proof of Claim with the Court. Instead and as described above, the Sexual
                     Abuse Survivor Proof of Claim must be mailed and delivered to the
                     Claims and Noticing Agent at the following address: BSA Abuse Claims
                     Processing, c/o Omni Agent Solutions, 5955 De Soto Ave., Suite 100,
                     Woodland Hills, CA 91367 or filed through the Electronic Filing System
                     via the website located at www.OfficialBSAClaims.com.

              (b)    Minors and their parents and legal guardians holding claims other than
                     Sexual Abuse Claims and individuals holding claims arising from sexual
                     abuse who were at least eighteen (18) years of age at the time the sexual
                     abuse began are directed not to file a General Proof of Claim with the
                     Court. Instead and as described above, the General Proof of Claim must
                     be mailed and delivered to the Claims and Noticing Agent at the following
                     address: BSA Claims Processing, c/o Omni Agent Solutions, 5955 De
                     Soto Ave., Suite 100, Woodland Hills, CA 91367 or filed through the
                     Electronic   Filing     System     via    the    website     located    at
                     http://www.omniagentsolutions.com/bsaclaims.

              (c)    Submitted Sexual Abuse Survivor Proofs of Claim will not be available to
                     the general public unless the Sexual Abuse Survivor designates otherwise
                     on the Sexual Abuse Survivor Proof of Claim Form. General Proofs of
                     Claim submitted by individuals holding claims arising from sexual abuse
                     who were at least eighteen (18) years of age at the time the sexual abuse
                     began will not be available to the general public unless a claimant requests
                     otherwise by contacting the Claims and Noticing Agent. Submitted
                     General Proofs of Claim related to minors will not be available to the
                     general public. The Confidentiality Protocol is for the benefit of such
                     holders. Sexual Abuse Survivors and individuals holding claims arising
                     from sexual abuse who were at least eighteen (18) years of age at the time
                     the sexual abuse began may, solely in their discretion, elect to make public
                     the information contained in their submitted proofs of claim.

              (d)    Sexual Abuse Survivor Proofs of Claim submitted by Sexual Abuse
                     Survivors and General Proofs of Claim submitted on behalf of minors and
                     by individuals holding claims arising from sexual abuse who were at least
                     eighteen (18) years of age at the time the sexual abuse began shall be held
                     and treated as confidential by the Claims and Noticing Agent, the Debtors,
                     the Debtors’ counsel and retained advisors, and any of parties listed below
                     (the “Permitted Parties”) to the extent such Permitted Party requests access
                     to proofs of claim, and shall be treated as confidential hereunder.
                     Furthermore, each Permitted Party shall execute and return to the Debtors’
                     counsel (with a copy to the official committee of tort claimants (the “Tort
                     Claimants’ Committee”) with respect to Sexual Abuse Survivor Proofs of
                     Claim and General Proofs of Claim submitted by individuals holding
                     claims arising from sexual abuse who were at least eighteen (18) years of
                     age at the time the sexual abuse began, and with a copy to the official


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                             committee of unsecured creditors (the “Creditors’ Committee”) with
                             respect to General Proofs of Claim submitted on behalf of minors) a
                             confidentiality agreement substantially in the form attached to this Order
                             as Exhibit 8 (the “Confidentiality Agreement”) by which such Permitted
                             Party agrees to keep the information provided in such Sexual Abuse
                             Survivor Proofs of Claim and/or the General Proofs of Claim confidential.

                    (e)      With respect to Sexual Abuse Proofs of Claim and General Proofs of
                             Claim of individuals holding claims arising from sexual abuse who were
                             at least eighteen (18) years of age at the time the sexual abuse began, the
                             Permitted Parties include: 4

                             (1)      counsel and retained advisors to the Debtors;

                             (2)      officers, directors, and employees of the Debtors necessary to
                                      assist the Debtors and their counsel in reviewing and analyzing the
                                      Sexual Abuse Claims;

                             (3)      the Claims and Noticing Agent;

                             (4)      counsel to the Ad Hoc Committee of Local Councils; 5

                             (5)      individual Local Councils solely with respect to Sexual Abuse
                                      Claims asserted against them;

                             (6)      the Tort Claimants’ Committee and its counsel and retained
                                      advisors;

                             (7)      the Court;

                             (8)      the Office of the United States Trustee for the District of Delaware
                                      (the “U.S. Trustee”);

                             (9)      certain insurers of the Debtors, including authorized claims
                                      administrators of such insurers and their reinsurers and their
                                      respective counsel;

                             (10)     the Future Claimants’ Representative and his counsel and retained
                                      advisors;
  4
    With the exception of counsel and advisors the Debtors retains pursuant to orders of this Court, counsel to the Tort
  Claimants’ Committee, the U.S. Trustee’s attorneys, the Court, counsel to the Future Claimants’ Representative, and
  the Claims and Noticing Agent, each Permitted Party receiving access to the Sexual Abuse Survivor Proofs of Claim
  or General Proofs of Claim submitted by individuals holding claims arising from sexual abuse who were at least
  eighteen (18) years of age at the time the sexual abuse began (or any information aggregated or derived therefrom)
  must execute the Confidentiality Agreement.
  5
    Notwithstanding anything in this Order or any of its exhibits to the contrary, all personally identifiable information
  shall be redacted from any proofs of claim provided to counsel to the Ad Hoc Committee of Local Councils as a
  Permitted Party following such counsel’s execution of the Confidentiality Agreement.



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                             (11)     any special arbitrator(s), mediator(s), or claims reviewer(s)
                                      appointed to review and resolve Sexual Abuse Claims;

                             (12)     any trustee, or functional equivalent thereof, appointed to
                                      administer payments to Sexual Abuse Survivors and his or her
                                      counsel and retained advisors;

                             (13)     any person with the express written consent of the Debtors, the
                                      Tort Claimants’ Committee, and the Future Claimants’
                                      Representative upon seven (7) business days’ notice to Sexual
                                      Abuse Survivors; and

                             (14)     such other persons as the Court determines should have the
                                      information in order to evaluate Sexual Abuse Claims upon seven
                                      (7) business days’ notice to such holders.

                    (f)      With respect to General Proofs of Claim submitted on behalf of minors,
                             the Permitted Parties include: 6

                             (1)      counsel and retained advisors to the Debtors;

                             (2)      officers, directors, and employees of the Debtors necessary to
                                      assist the Debtors and their counsel in reviewing and analyzing
                                      such claims;

                             (3)      the Claims and Noticing Agent;

                             (4)      counsel to the Ad Hoc Committee of Local Councils; 7

                             (5)      individual Local Councils solely with respect to claims asserted
                                      against them;

                             (6)      the Creditors’ Committee;

                             (7)      the Tort Claimants’ Committee and its counsel and retained
                                      advisors;

                             (8)      the Court;



  6
    With the exception of counsel and advisors the Debtors retains pursuant to orders of this Court, counsel to the
  Creditors’ Committee, counsel to the Tort Claimants’ Committee, the U.S. Trustee’s attorneys, the Court, counsel to
  the Future Claimants’ Representative, and the Claims and Noticing Agent, each Permitted Party receiving access to
  the General Proofs of Claim submitted on behalf of minors (or any information aggregated or derived therefrom)
  must execute the Confidentiality Agreement.
  7
   Notwithstanding anything in this Order or any of its exhibits to the contrary, all personally identifiable information
  shall be redacted from any proofs of claim provided to counsel to the Ad Hoc Committee of Local Councils as a
  Permitted Party following such counsel’s execution of the Confidentiality Agreement.



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                        (9)     the Office of the United States Trustee for the District of Delaware
                                (the “U.S. Trustee”);

                        (10)    certain insurers of the Debtors, including authorized claims
                                administrators of such insurers and their reinsurers and their
                                respective counsel;

                        (11)    the Future Claimants’ Representative and his counsel and retained
                                advisors;

                        (12)    any special arbitrator(s), mediator(s), or claims reviewer(s)
                                appointed to review and resolve Sexual Abuse Claims;

                        (13)    any trustee, or functional equivalent thereof, appointed to
                                administer payments to claimants and his or her counsel and
                                retained advisors;

                        (14)    any person with the express written consent of the Debtors, the
                                Tort Claimants’ Committee, the Creditors’ Committee, and the
                                Future Claimants’ Representative upon seven (7) business days’
                                notice to such claimants; and

                        (15)    such other persons as the Court determines should have the
                                information in order to evaluate claims submitted on behalf of
                                minors upon seven (7) business days’ notice to such holders

          8.      For the avoidance of doubt, nothing in this Order precludes the Debtors from

  discharging any obligations to report child abuse under state or federal law.

          9.      Any holder of a claim against the Debtors, including any holder of a Sexual

  Abuse Claim, who is required to file a General Proof of Claim or Sexual Abuse Survivor Proof

  of Claim in accordance with this Order, but fails to do so on or before the applicable Bar Date,

  shall not be permitted to vote to accept or reject the Plan filed in these chapter 11 cases on

  account of such claim. Any holder of a claim against the Debtors, including any holder of a

  Sexual Abuse Claim, who is required to file a General Proof of Claim or Sexual Abuse Survivor

  Proof of Claim in accordance with this Order, but fails to do so on or before the applicable Bar

  Date, shall not be treated as a creditor with respect to such claim for the purposes of voting and

  distribution.



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         10.     For the avoidance of doubt, nothing contained in this Order shall preclude a

  claimant from asserting a late-filed claim in accordance with Bankruptcy Rule 9006.

         11.     Nothing in this Order shall independently impair or affect, or be deemed to impair

  or affect, any claims including, without limitation, Sexual Abuse Claims that may be asserted

  against Local Councils or any entity or organization other than the Debtors.

         12.     The General Bar Date Notice, the Abuse Claims Bar Date Notice, the Abuse

  Claims Publication Notice, a form of the Abuse Claims Publication Notice adapted for email

  format (the “Abuse Claims Email Notice”), and the form of television spot copy (the “Abuse

  Claims TV Spot”) attached to this Order as Exhibits 1, 2, 3, 4, and 5 respectively, are hereby

  approved.

         13.     The following procedures are hereby approved with respect to the General Bar

  Date Notice:

                 (a)    At least 150 days prior to the General Bar Date, the Debtors shall cause to
                        be mailed (i) a General Proof of Claim Form and (ii) the General Bar Date
                        Notice to the following parties:

                        (1)     the U.S. Trustee;

                        (2)     all parties listed on the creditor matrix;

                        (3)     all creditors and other known holders of claims against the Debtors
                                as of the date of entry of this Order, including all entities listed on
                                the Schedules as holding claims against the Debtors, but excluding
                                Sexual Abuse Survivors;

                        (4)     all persons or entities that have filed General Proofs of Claim as of
                                the date of entry of this Order;

                        (5)     all counterparties to the Debtors’ executory contracts and
                                unexpired leases as of the date of entry of this Order;

                        (6)     all parties to pending litigation against the Debtors that is unrelated
                                to Abuse Claims;




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                         (7)     all current and former employees, directors, and officers (to the
                                 extent that contact information for former employees, director, and
                                 officers is available in the Debtors’ records);

                         (8)     all regulatory authorities that regulate the Debtors’ organization as
                                 of the date of entry of this Order;

                         (9)     the Offices of the United States Attorney for the District of
                                 Delaware and the Northern District of Texas;

                         (10)    the office of the attorney general for each state in which the
                                 Debtors maintain or conduct operations;

                         (11)    the District Director of the Internal Revenue Service for the
                                 District of Delaware;

                         (12)    all other taxing authorities for the jurisdictions in which the
                                 Debtors maintain or conduct organizational operations;

                         (13)    all parties who have requested notice pursuant to Bankruptcy Rule
                                 2002 as of the date of entry of this Order; and

                         (14)    such additional persons and entities deemed appropriate by the
                                 Debtors.

                 (b)     The Debtors shall also post the General Proof of Claim Form and the
                         General Bar Date Notice on the website established by the Claims and
                         Noticing Agent, http://www.omniagentsolutions.com/bsaclaims.

         14.     The Debtors are hereby ordered to, via the Claims and Noticing Agent, serve via

  first-class mail (i) the Abuse Claims Bar Date Notice, substantially in the form attached to this

  Order as Exhibit 2, and (ii) a Sexual Abuse Survivor Proof of Claim Form, at least 150 days

  prior to the Abuse Claims Bar Date, to counsel of record, if any, for each known Sexual Abuse

  Survivor, or to the Sexual Abuse Survivor directly if address information for the Sexual Abuse

  Survivor is known and address information for counsel of record is not known, including,

  without limitation, any Sexual Abuse Survivor that has filed a Proof of Claim on or prior to the

  entry of this Order at the address listed in such Proof of Claim.

         15.     The Debtors shall also serve the Abuse Claims Bar Date Notice and Sexual Abuse

  Survivor Proof of Claim Form on counsel to the Tort Claimants’ Committee.


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         16.     Further, the Debtors shall post the Sexual Abuse Survivor Proof of Claim Form

  and the Abuse Claims Bar Date Notice on the Claims and Noticing Agent’s website,

  www.OfficialBSAClaims.com.

         17.     The Debtors shall use commercially reasonable efforts to publish the Abuse

  Claims Publication Notice, in substantially the form attached to this Order as Exhibit 3

  (allowing reasonable time for administrative and logistical issues), in accordance with the

  Supplemental Notice Plan and with any necessary modifications for ease of publication.

         18.     The Debtors shall use commercially reasonable efforts to send the Abuse Claims

  Email Notice, in substantially the form attached to this Order as Exhibit 4, to current and former

  scouts, volunteers, and parents who provided an email address to the Debtors since 1999, and to

  send a Spanish version of such notice to individuals who purchased a Spanish Handbook from

  the Debtors’ online Scout Shop and provided an email address to the Debtors.

         19.     The Court hereby finds and concludes that the Abuse Claims Notice Procedures,

  including the Supplemental Notice Plan, the Abuse Claims Publication Notice, and the Abuse

  Claims Email Notice, as set forth in the Motion (as modified in accordance with the Supplement

  and the Reply) and this Order, are reasonably calculated to provide notice to unknown creditors,

  including Sexual Abuse Survivors, of the Bar Dates and the other matters described therein, and

  are hereby approved and no other or further notice shall be required. The Court further finds and

  concludes that identities and contact information of Sexual Abuse Survivors and individuals

  holding claims arising from sexual abuse who were at least eighteen (18) years of age at the time

  the sexual abuse began, other than known holders of Sexual Abuse Claims, as described in the

  Motion and the Wheatman Declarations, are not reasonably ascertainable and that such parties

  therefore are unknown creditors with respect to any claims they may have against the Debtors’




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  estates, for whom notice by publication pursuant to Bankruptcy Rule 2002(l) is appropriate and

  sufficient.

          20.    The Debtors shall provide drafts of the internet, television, print, radio, and other

  copy created by the Debtors to implement the Supplemental Notice Plan to counsel for the Tort

  Claimants’ Committee and the Future Claimants’ Representative, respectively, in advance of

  publication   thereof,   and   the Tort    Claimants’ Committee’s        and    Future Claimants’

  Representative’s rights related thereto are reserved.

          21.    The Court further finds and concludes that publication of the Abuse Claims

  Publication Notice as provided in this Order will itself constitute adequate notice of the Abuse

  Claims Bar Date and other matters described therein on all unknown creditors, without regard to

  the additional elements of the Supplemental Notice Plan.

          22.    The Debtors shall use commercially reasonable efforts, with the assistance of the

  Claims and Noticing Agent, to publish notice of the General Bar Date, with any necessary

  modifications for ease of publication, once in the national editions of The Wall Street Journal,

  USA Today, and The New York Times.

          23.    Any person or entity who desires to rely on the Schedules will have the

  responsibility for determining that such person’s or entity’s Claim is accurately listed in the

  Schedules.

          24.    Notwithstanding the relief granted in this Order and any actions taken pursuant to

  such relief, nothing in this Order shall be deemed as (a) an admission as to the validity or priority

  of any claim or lien against the Debtors, (b) a waiver of the rights of the Debtors or any party in

  interest to dispute any claim or lien on any grounds, (c) a promise or requirement to pay any

  prepetition claim, (d) an implication or admission that any particular claim is of a type specified




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  or defined in the Motion or this Order, (e) a request or authorization to assume any prepetition

  agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code or any other

  applicable law, or (f) a waiver of the Debtors’ or any other party’s rights under the Bankruptcy

  Code or any other applicable law.

         25.     Entry of this Order is without prejudice to the right of the Debtors to seek a

  further order of this Court fixing the date by which holders of claims not subject to the Bar Dates

  established herein must file such claims against the Debtors or be forever barred from doing so.

         26.     The Debtors and the Claims and Noticing Agent are authorized to take all actions

  necessary to effectuate the relief granted in this Order in accordance with the Motion.

         27.     This Court retains exclusive jurisdiction with respect to all matters arising from or

  related to the implementation, interpretation, and enforcement of this Interim Order.




                                                       LAURIE SELBER SILVERSTEIN
        Dated: May 26th, 2020                          UNITED STATES BANKRUPTCY JUDGE
        Wilmington, Delaware
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                                      Exhibit 1

                           Form of General Bar Date Notice
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


  In re:                                                         Chapter 11

  BOY SCOUTS OF AMERICA AND                                      Case No. 20-10343 (LSS)
  DELAWARE BSA, LLC, 1
                                                                 (Jointly Administered)
  Debtors.


  TO ALL PERSONS OR ENTITIES WITH CLAIMS AGAINST BOY SCOUTS OF
  AMERICA AND DELAWARE BSA, LLC:

           NOTICE OF DEADLINES REQUIRING FILING OF PROOFS OF CLAIM

  NOTICE IS HEREBY GIVEN as follows:

          The United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
  Court”) has entered an Order (the “Bar Date Order”)           establishing November 16, 2020 at
  5:00 p.m. (Eastern Time) the (“General Bar Date”) as the last date and time for each person or
  entity (including individuals, partnerships, corporations, joint ventures, and trusts, but not
  including any (i) any holder of a Sexual Abuse Claim, as described below (each, a “Sexual
  Abuse Survivor”) and (ii) governmental units (as defined in section 101(27) of the chapter 11 of
  title 11 of the United States Code (the “Bankruptcy Code”)) to file a General Proof of Claim
  against any of the above-listed debtors (collectively, the “Debtors”). 2

          The Bar Dates (as defined below) and the procedures set forth below for filing General
  Proofs of Claim apply to all claims against the Debtors that arose prior to February 18, 2020 (the
  “Petition Date”), the date on which the Debtors commenced cases under chapter 11 of the
  Bankruptcy Code, including, for the avoidance of doubt, secured claims, priority claims, and
  claims arising under section 503(b)(9) of the Bankruptcy Code, but not holders of the claims
  listed in Section VI below that specifically are excluded from the General Bar Date and
  Governmental Bar Date (as defined below) filing requirement. Governmental units may have
  until August 17, 2020 at 5:00 p.m. (Eastern Time) (the “Governmental Bar Date,” and,


  1
   The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
  number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
  address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
  2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
  Debtors’ Motion, Pursuant to § 502(b)(9), Bankruptcy Rules 2002 and 3003(c)(3), and Local Rules 2002-1(e),
  3001-1, and 3003-1, for Authority to (I) Establish Deadlines for Filing Proofs of Claim, (II) Establish the Form and
  Manner of Notice Thereof, (III) Approve Procedures for Providing Notice of Bar Date and Other Important
  Information to Abuse Victims, and (IV) Approve Confidentiality Procedures for Abuse Victims [Docket No. 18] or
  the Bar Date Order, as applicable.
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  together with the General Bar Date, the “Bar Dates”) to file General Proofs of Claim against the
  Debtors.

         The procedures described in this Notice shall not apply to Sexual Abuse Survivors
  asserting Sexual Abuse Claims. Sexual Abuse Survivors should consult the notice titled
  Notice of Deadline for Filing Sexual Abuse Claims in the Boy Scouts of America Bankruptcy
  Case and file a Sexual Abuse Survivor Proof of Claim, which may be found at
  www.OfficialBSAClaims.com. See Section IV below for more information.

         If you have a claim arising from other types of abuse, including non-sexual physical
  abuse, non-sexual emotional abuse, bullying or hazing, OR if you have a claim arising from
  sexual abuse and you were at least eighteen (18) years of age at the time the sexual abuse
  began, and you have not filed a proof of claim prior to the entry of the Bar Date Order, you
  must file a General Proof of Claim as set forth in the Bar Date Order and this Notice.

  I.     WHO MUST FILE A PROOF OF CLAIM

          You MUST file a General Proof of Claim to vote on a chapter 11 plan filed by the
  Debtors or to share in distributions from the Debtors’ bankruptcy estates if (i) you have a claim
  that arose prior to the Petition Date and (ii) it is not one of the types of claims described in
  Section VI below. Claims based on acts or omissions of the Debtors that occurred before the
  Petition Date must be filed on or prior to the applicable Bar Date, even if such claims are not
  now fixed, liquidated or certain or did not mature or become fixed, liquidated or certain before
  the Petition Date.

          Under section 101(5) of the Bankruptcy Code and as used in this Notice, the word
  “claim” means: (a) a right to payment, whether or not such right is reduced to judgment,
  liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
  equitable, secured, or unsecured; or (b) a right to an equitable remedy for breach of performance
  if such breach gives rise to a right to payment, whether or not such right to an equitable remedy
  is reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or
  unsecured.

  II.    WHAT TO FILE

           The Debtors are enclosing a proof of claim form (the “General Proof of Claim Form”) for
  use in these cases; if your claim is listed on the schedules of assets and liabilities filed by the
  Debtors (collectively, the “Schedules”), the General Proof of Claim Form also sets forth the
  amount of your claim as listed on the Schedules, the specific Debtor against which the claim is
  scheduled, and whether the claim is scheduled as “disputed,” “contingent,” or “unliquidated.”
  You will receive a different General Proof of Claim Form for each claim listed in your name on
  the Schedules. You may utilize the General Proof of Claim Form(s) provided by the Debtors to
  file your claim. Additional General Proof of Claim Forms may be obtained at (i) the website
  established by the Debtors’ Court-approved claims and noticing agent, Omni Agent Solutions
  (the “Claims and Noticing Agent”), located at http://www.omniagentsolutions.com/bsaclaims, or
  (ii) the Bankruptcy Court’s website located at www.uscourts.gov/forms/bankruptcy-forms.

  Proofs of Claim must:                        Be signed by the claimant

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                                               Be written in English
                                               Be denominated in United States currency
                                                 (using the exchange rate, if applicable, as of
                                                 the Petition Date)
                                               Set forth with specificity the legal and factual
                                                 basis for the alleged claim, including all of the
                                                 information requested in the General Proof of
                                                 Claim Form, and attach to your completed
                                                 proof of claim any documents on which the
                                                 claim is based (if voluminous, attach a
                                                 summary) or explanation as to why the
                                                 documents are not available. If you fail to
                                                 attach supporting documents, the absence of
                                                 such supporting documents will not
                                                 automatically result in disallowance of your
                                                 claim, but you may be required to provide
                                                 additional     information     or    supporting
                                                 documentation at a later date, and your claim
                                                 may be subject to an objection on the grounds
                                                 that you failed to include any supporting
                                                 documentation as required by Bankruptcy Rule
                                                 3001(c).

          Any holder of a claim against more than one Debtor who has not filed a proof of claim
  prior to entry of the Bar Date Order must file a separate General Proof of Claim with respect to
  each Debtor. Any holder of a claim must identify on its General Proof of Claim the specific
  Debtor against which its claim is asserted and the case number of that Debtor’s bankruptcy case.
  The Debtors are set forth on the first page of this Notice. Any holder of a claim must sign the
  claim or, if the claimant is not an individual, an authorized agent or representative must sign the
  claim.

          ATTENTION PARTICIPANTS IN THE RESTORATION PLAN: If you are a
  participant in the Restoration Plan, a non-qualified defined benefit retirement plan under section
  457(f) of the Internal Revenue Code that provided supplemental retirement benefits to certain
  participants in the Debtors’ retirement plans whose compensation exceeded the annual
  compensation limit, you will receive a General Proof of Claim that will include the amount that
  the Debtors’ Schedules reflect you are owed on account of your employment as both an
  employee of BSA and a Local Council, if applicable. This amount is based only on a
  preliminary actuarial determination. The General Proof of Claim that you receive will not
  distinguish between your Restoration Plan claims in your capacity as a Local Council or National
  Council employee, if both exist. The Debtors’ Schedules list these claims as “contingent” and/or
  “unliquidated,” meaning that you must file a proof of claim in order to preserve any claims you
  may have under the Restoration Plan. If you do not agree with the amount or entities listed in
  the General Proof of Claim that you receive, you must indicate on your General Proof of
  Claim what you believe to be the correct amount or responsible entity or entities.

  III.   WHEN AND WHERE TO FILE

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         Except as provided for herein, all proofs of claim must be filed so as to be received on or
  before November 16, 2020 at 5:00 p.m. (Eastern Time) as follows:

  IF BY FIRST CLASS MAIL, OVERNIGHT COURIER OR HAND DELIVERY:

                 BSA Claims Processing
                 c/o Omni Agent Solutions
                 5955 De Soto Ave., Suite 100
                 Woodland Hills, CA 91367

  IF ELECTRONICALLY:

         The website established by the Claims and Noticing Agent, using the interface available
  on the website located at http://www.omniagentsolutions.com/bsaclaims (the “Electronic Filing
  System”).

         General Proofs of Claim will be deemed filed only when received at the address listed
  above or via the Electronic Filing System on or before the applicable Bar Dates. General
  Proofs of Claim may not be delivered by email, facsimile, or telecopy transmission (other
  than General Proofs of Claim filed electronically through the Electronic Filing System).

  IV.    SEXUAL ABUSE CLAIMS

         If you have a Sexual Abuse Claim and you were a child under the age of eighteen (18) at
  the time of the sexual abuse, please see the Notice of Deadline for Filing Sexual Abuse Claims in
  the Boy Scouts of America Case and file a Sexual Abuse Survivor Proof of Claim, which may be
  found at www.OfficialBSAClaims.com. If you have a Sexual Abuse Claim and you were a
  child under the age of eighteen (18) at the time of the sexual abuse and you have not filed a
  proof of claim prior to the entry of the Bar Date Order, you must complete a Sexual Abuse
  Survivor Proof of Claim, but you do NOT need to complete a General Proof of Claim.

         You have a Sexual Abuse Claim if you experienced sexual abuse in Scouting on or
  before February 18, 2020. Sexual abuse means, with respect to a child under the age of
  eighteen (18) at the time of the sexual abuse:

         x   sexual conduct or misconduct, sexual abuse or molestation, sexual exploitation,
             sexual touching, sexualized interaction, sexual comments about a person’s body, or
             other verbal or non-verbal behaviors that facilitated, contributed to, or led up to
             abuse, regardless of whether or not such behavior was itself sexual or against the law,
             and regardless of whether the child thought the behavior was sexual abuse at the time.

         x   Sexual abuse includes behavior between a child and an adult and between a child and
             another child, in each instance without regard to whether such activity involved
             explicit force, whether such activity involved genital or other physical contact, and
             whether the child associated the abuse with any physical, psychological, or emotional
             harm.




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         x     Sexual abuse involves behaviors including penetration or fondling of the child’s
               body, other body-on-body contact, or non-contact, behaviors such as observing or
               making images of a child’s naked body, showing or making pornography, or having
               children behave in sexual behavior as a group.

         If you have a claim arising from other types of abuse, including non-sexual physical
  abuse, non-sexual emotional abuse, bullying or hazing, OR if you have a claim arising from
  sexual abuse and you were at least eighteen (18) years of age at the time the sexual abuse
  began, and you have not filed a proof of claim prior to the entry of the Bar Date Order, you
  must file a General Proof of Claim as set forth in the Bar Date Order and this Notice.

  V.     CONFIDENTIALITY PROTOCOL GOVERNING SUBMISSION OF PROOFS
         OF CLAIMS OF MINORS AND SEXUAL ABUSE SURVIVORS:

          The Bar Date Order provides that a Confidentiality Protocol shall govern the submission
  of certain proofs of claim.

          Minors and their parents and legal guardians and individuals with claims arising from
  sexual abuse who were at least eighteen (18) years of age at the time the sexual abuse began are
  directed not to file a General Proof of Claim with the Court. Instead and as described above, the
  General Proof of Claim must be (a) mailed and delivered to the Claims and Noticing Agent at the
  following address:

                                      BSA Claims Processing
                                     c/o Omni Agent Solutions
                                    5955 De Soto Ave., Suite 100
                                     Woodland Hills, CA 91367

  or (b) filed through the Electronic Filing             System    via   the   website   located   at
  http://www.omniagentsolutions.com/bsaclaims.

          General Proofs of Claim submitted on behalf of minors will not be available to the
  general public. General Proofs of Claim submitted by individuals with claims arising from
  sexual abuse who were at least eighteen (18) years of age at the time the sexual abuse began will
  not be available to the general public unless such claimant requests, solely in his or her
  discretion, for such proof of claim to be made public by contacting the Claims and Noticing
  Agent.

  VI.    WHO NEED NOT FILE A PROOF OF CLAIM

          You do not need to file a General Proof of Claim on or prior to the applicable Bar Dates
  if you are:

         (1)      any person or entity whose claim is listed on the Schedules; provided that (i) the
                  claim is not listed on the Schedules as “disputed,” “contingent,” or
                  “unliquidated,” (ii) the person or entity does not dispute the amount, nature, and
                  priority of the claim as set forth in the Schedules, and (iii) the person or entity


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                 does not dispute that the claim is an obligation of the specific Debtor against
                 which the claim is listed in the Schedules;

         (2)     any person or entity whose claim has been paid in full;

         (3)     any holder of a claim allowable under section 503(b) and 507(a)(2) of the
                 Bankruptcy Code as an administrative expense (other than a holder of a section
                 503(b)(9) claim);

         (4)     any person or entity who holds a claim that heretofore has been allowed by order
                 of the Bankruptcy Court entered on or before the applicable Bar Date;

         (5)     any holder of a claim for which a separate deadline has been fixed by the
                 Bankruptcy Court;

         (6)     any person or entity who has, as of the date of entry of the Bar Date Order,
                 already filed a proof of claim with the Claims and Noticing Agent or the Court,
                 utilizing a claim form that substantially conforms to the General Proof of Claim
                 Form or Official Bankruptcy Form No. 410; or

         (7)     either Debtor in these chapter 11 cases having a claim against the other Debtor in
                 these chapter 11 cases.

         This Notice may be sent to persons and entities that have had some relationship with or
  have done business with the Debtors but may not have an unpaid claim against the Debtors. The
  fact that you have received this Notice does not mean that you have a claim or that the
  Debtors or the Bankruptcy Court believe that you have a claim against the Debtors.

  VII.   EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          If you hold a claim arising out of the rejection of an executory contract or unexpired lease
  and you have not filed a proof of claim prior to the entry of the Bar Date Order, you must file a
  General Proof of Claim based on such rejection within thirty (30) days after the later of (i) the
  date of entry of an order of the Bankruptcy Court (including the Confirmation Order) approving
  such rejection, (ii) the effective date of such rejection, or (iii) the effective date of a plan of
  reorganization, or be forever barred from doing so; provided, however, that a party to an
  executory contract or unexpired lease that asserts a claim on account of unpaid amounts accrued
  and outstanding as of the Petition Date pursuant to such executory contract or unexpired lease
  (other than a rejection damages claim) must file a General Proof of Claim for such amounts on or
  before the General Bar Date or Governmental Bar Date, as applicable, unless an exception
  identified in Section VI above applies.

  VIII. CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM BY THE
        APPLICABLE BAR DATE

       ANY HOLDER OF A CLAIM THAT IS NOT EXEMPTED FROM THE
  REQUIREMENTS OF THE BAR DATE ORDER, AS SET FORTH IN SECTION VI ABOVE,
  AND THAT FAILS TO TIMELY FILE A PROOF OF CLAIM IN THE APPROPRIATE


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  FORM, SHALL NOT BE TREATED AS A CREDITOR WITH RESPECT TO SUCH CLAIM
  FOR THE PURPOSES OF VOTING ON ANY PLAN OF REORGANIZATION FILED IN
  THESE CASES AND PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTORS’
  CASES ON ACCOUNT OF SUCH CLAIM.

         Please further note that only BSA is a debtor in BSA’s chapter 11 proceeding and
  other third parties, such as the BSA Local Councils and chartered organizations, are not.
  If you believe you may have a claim against one of these organizations, you must take
  additional legal action to preserve and pursue such claim.

  IX.    THE DEBTORS’ SCHEDULES AND ACCESS THERETO

         You may be listed as a holder of a claim against one or more of the Debtors in the
  Debtors’ Schedules. To determine if and how you are listed on the Schedules, please refer to the
  descriptions set forth on the enclosed General Proof of Claim Form(s) regarding the nature,
  amount, and status of your claim(s). If you received postpetition payments from the Debtors
  (as authorized by the Bankruptcy Court) on account of your claim(s), the enclosed General
  Proof of Claim Form will reflect the net amount of your claim(s).

         If you rely on the Debtors’ Schedules and/or the enclosed General Proof of Claim
  Form(s), it is your responsibility to determine that the claim accurately is listed on the Schedules.
  However, you may rely on the enclosed form, which lists your claim as scheduled, identifies the
  Debtor against which it is scheduled, and specifies whether the claim is disputed, contingent, or
  unliquidated.

          As set forth above, if you agree with the nature, amount, and status of your claim as listed
  in the Debtors’ Schedules, and if you do not dispute that your claim only is against the Debtor
  specified by the Debtors, and if your claim is not described as “disputed,” “contingent,” or
  “unliquidated,” you need not file a General Proof of Claim. Otherwise, or if you decide to file a
  General Proof of Claim, you must do so before the applicable Bar Dates, in accordance with the
  procedures set forth in this Notice.

         If your claims are listed as contingent, unliquidated, or disputed in the Debtors’
  Schedules, you must file a General Proof of Claim by the applicable Bar Date, or your
  rights and claims may be waived.

         In the event that the Debtors amend or supplement their Schedules subsequent to the
  entry of the Bar Date Order, the Debtors shall give notice of any amendment or supplement to
  the holders of claims affected thereby, and such holders shall have until the later of (i) the
  applicable Bar Date and (ii) thirty (30) days from the date of such notice to file a General Proof
  of Claim or be barred from doing so and shall be given notice of such deadline.

          Copies of the Debtors’ Schedules are available for inspection on the Bankruptcy Court’s
  electronic docket for the Debtors’ chapter 11 cases, which is posted on (i) the website established
  by Omni Agent Solutions, the claims and noticing agent for the Debtors’ cases, at
  www.omniagentsolutions.com/bsa, at no charge and (ii) on the Court’s website at
  http://www.deb.uscourts.gov/. A login and password to the Bankruptcy Court’s Public



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  Access to Electronic Records (“PACER”) are required to access this information and can be
  obtained through the PACER Service Center at http://www.pacer.gov.

         Copies of the Schedules also may be examined between the hours of 8:00 a.m. and 4:00
  p.m., Prevailing Eastern Time, Monday through Friday at the Office of the Clerk of the Court,
  824 North Market Street, 3rd Floor, Wilmington, Delaware 19801. Copies of the Debtors’
  Schedules also may be obtained by request to the Claims and Noticing Agent.

  A HOLDER OF A POTENTIAL CLAIM AGAINST THE DEBTORS SHOULD CONSULT AN
  ATTORNEY REGARDING ANY MATTERS NOT COVERED BY THIS NOTICE, SUCH AS
  WHETHER THE HOLDER SHOULD FILE A PROOF OF CLAIM.


         If you need additional information about the Bar Dates, proofs of claim forms, filing
  proofs of claim or other information about the Debtors’ chapter 11 cases, you can contact the
  Claims and Noticing Agent by:
         Calling (toll-free): 866-907-BSA1
         Emailing:           BSAInquiries@omniagnt.com
         Visiting:           http://www.omniagentsolutions.com/bsaclaims

        You may obtain information, but not legal advice, from the Claims and Noticing
  Agent. You may wish to consult an attorney if you have any questions, including if you
  should file a General Proof of Claim.


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  Dated: ____________, 2020                   BY ORDER OF THE COURT
  Wilmington, Delaware

 MORRIS, NICHOLS, ARSHT & TUNNELL LLP

 /s/
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 COUNSEL TO THE DEBTORS AND DEBTORS IN
 POSSESSION




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                                      Exhibit 2

                         Form of Abuse Claims Bar Date Notice
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Notice of Deadline for Filing Sexual Abuse Claims in the Boy Scouts of
                       America Bankruptcy Case

All Sexual Abuse Survivors Need to File Claims by November 16, 2020
       This is an official notice approved by the Bankruptcy Court. This is not a solicitation from a lawyer.

              Una versión en español de este aviso está disponible en www.OfficialBSAclaims.com
                                        o llamando al 1-866-907-2721.

   x    Please read this notice carefully as it may impact your rights against the Boy Scouts of America
        (“BSA”), BSA Local Councils and the organizations that sponsored your troop or pack.
   x    Regardless of how old you are today, if you were sexually abused on or before February 18, 2020 in
        connection with the Boy Scouts, Cub Scouts, or any activity associated with BSA or Scouting, you are
        referred to in this notice as a “Sexual Abuse Survivor,” and you must file a claim.
   x    If you do not file a Sexual Abuse Claim by November 16, 2020, you may lose rights against BSA,
        BSA Local Councils, and organizations that sponsored your troop or pack, including the right to
        compensation from BSA. (Note that only BSA is a debtor in BSA’s chapter 11 proceeding and other
        third parties, such as the BSA Local Councils and chartered organizations, are not. If you believe you
        may have a claim against one of these organizations, you must take additional legal action to preserve
        and pursue such claim.)

   x    You can file a claim using the Sexual Abuse Survivor Proof of Claim Form approved by the court (1) at
        the following website: www.OfficialBSAClaims.com, or (2) by mailing your Sexual Abuse Survivor
        Proof of Claim to the address listed below. Your information will be kept private (see Question 6
        below).

   x    If a plan to reorganize BSA is approved, it could release claims you hold against certain third
        parties, including against BSA Local Councils and organizations that sponsored your troop or
        pack. Please visit www.OfficialBSAClaims.com to learn more. See Question 9 below for more
        information.

                 YOUR LEGAL RIGHTS AND OPTIONS IN THIS BANKRUPTCY CASE

                                      The only way to get compensation for any harm done to you during your
FILE A PROOF OF CLAIM
                                      time in Scouting.

                                      Get no compensation. If you are an adult and do not have a repressed
DO NOTHING                            memory of sexual abuse, you will give up your right to bring your claim in
                                      the future.


   x    Your rights and options – and the deadline to exercise them by – are explained in more detail in this
        notice.




   QUESTIONS? CALL 1-866-907-2721, EMAIL BSAINQUIRIES@OMNIAGNT.COM, OR VISIT WWW.OFFICIALBSACLAIMS.COM
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                                             BASIC INFORMATION

1.       Why was this notice issued?

BSA has filed a chapter 11 bankruptcy case. The Bankruptcy Court has set a deadline for filing claims against
BSA for sexual abuse that took place on or before February 18, 2020, which is the date that BSA filed for
bankruptcy.

This case is filed in the U.S. Bankruptcy Court for the District of Delaware, and the case is known as In re Boy
Scouts of America and Delaware BSA, LLC, No. 20-10343 (Bankr. D. Del.). The Bankruptcy Court judge
overseeing the case is Judge Laurie Selber Silverstein.

The Bankruptcy Court authorized BSA to send out this notice. You have the right to file a claim in the
bankruptcy case if you were sexually abused in connection with Scouting, regardless of how old you are today.
You are required to file a Sexual Abuse Survivor Proof of Claim on or before November 16, 2020 at 5:00 p.m.
(Eastern Time).


                                           SEXUAL ABUSE CLAIMS

2.       What is considered sexual abuse?

You have a Sexual Abuse Claim if you experienced sexual abuse in Scouting, as described below. The sexual
abuse must have occurred on or before February 18, 2020.

For the purposes of submitting a Sexual Abuse Survivor Proof of Claim, sexual abuse means, with respect to a
child under the age of eighteen (18) at the time of the sexual abuse:

     x   sexual conduct or misconduct, sexual abuse or molestation, sexual exploitation, sexual touching,
         sexualized interaction, sexual comments about a person’s body, or other verbal or non-verbal behaviors
         that facilitated, contributed to, or led up to abuse, regardless of whether or not such behavior was itself
         sexual or against the law, and regardless of whether the child thought the behavior was sexual abuse at
         the time.

     x   Sexual abuse includes behavior between a child and an adult and between a child and another child, in
         each instance without regard to whether such activity involved explicit force, whether such activity
         involved genital or other physical contact, and whether the child associated the abuse with any physical,
         psychological, or emotional harm.

     x   Sexual abuse involves behaviors including penetration or fondling of the child’s body, other body-on-
         body contact, or non-contact, behaviors such as observing or making images of a child’s naked body,
         showing or making pornography, or having children behave in sexual behavior as a group.

If you have a claim arising from other types of abuse, including non-sexual physical abuse, non-sexual
emotional abuse, bullying or hazing, OR if you have a claim arising from sexual abuse and you were at least
eighteen (18) years of age at the time the sexual abuse began, you should consult the Notice of Deadlines
Requiring Filing of Proof of Claim and file a General Proof of Claim (Official Bankruptcy Form 410).

For the avoidance of doubt, if you have a claim for sexual abuse and you were a child under the age of eighteen
(18) when the sexual abuse began you must submit a Sexual Abuse Survivor Proof of Claim.

     QUESTIONS? CALL 1-866-907-2721, EMAIL BSAINQUIRIES@OMNIAGNT.COM, OR VISIT WWW.OFFICIALBSACLAIMS.COM

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3.       Who should file a Sexual Abuse Survivor Proof of Claim?

You should file a Sexual Abuse Survivor Proof of Claim if you have a Sexual Abuse Claim as defined above.
You should file a Sexual Abuse Survivor Proof of Claim regardless of whether you:

     x   Did or did not report your sexual abuse to BSA or to anyone else;

     x   Believe the applicable statute of limitations may have run on your Sexual Abuse Claim;

     x   Previously filed a lawsuit or asserted claims in connection with the sexual abuse against BSA and/or a
         BSA Local Council or organization that sponsored your troop or pack;

     x   Previously had your Sexual Abuse Claim paid in full by BSA under a settlement, but you believe you
         may have additional claims beyond what was agreed to in the settlement agreement;

     x   Are included in, or represented by, another action with respect to your Sexual Abuse Claim.

You should submit a Sexual Abuse Survivor Proof of Claim regardless of your age now or the length of time
that has passed since the abuse took place.

Even if the applicable state statute of limitations has run on your Sexual Abuse Claim, you should still file your
claim.

Statutes of limitation are laws passed by a legislative body in each state that sets the maximum time after an
event or discovery of an event when a lawsuit may be filed. Statutes of limitation vary by state.

You do not need to file a Sexual Abuse Survivor Proof of Claim if you are a “future claimant.” Future
claimants are individuals who:

     x   were under the age of 18 as of February 18, 2020; and/or

     x   are not aware of their sexual abuse claim as a result of “repressed memory,” to the extent this concept is
         recognized by the highest court of the state or territory where the sexual abuse occurred.

The court has appointed a Future Claimants’ Representative to represent your rights in the bankruptcy case.

As stated above, do not file a Sexual Abuse Survivor Proof of Claim if your claim is based on anything other
than sexual abuse as defined above. If you have a claim arising from other types of non-sexual abuse, including
non-sexual physical abuse, non-sexual emotional abuse, bullying or hazing, OR if you have a claim arising from
sexual abuse and you were at least eighteen (18) years of age at the time the sexual abuse began, you should
consult the Notice of Deadlines Requiring Filing of Proof of Claim and file a General Proof of Claim (Official
Bankruptcy Form 410).




4.       What if I am still not sure if I have a Sexual Abuse Claim?



     QUESTIONS? CALL 1-866-907-2721, EMAIL BSAINQUIRIES@OMNIAGNT.COM, OR VISIT WWW.OFFICIALBSACLAIMS.COM

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You should consult with an attorney if you have any questions, including whether you should file a Sexual
Abuse Survivor Proof of Claim.


                    HOW TO FILE A SEXUAL ABUSE SURVIVOR PROOF OF CLAIM

5.        How can I file my Sexual Abuse Survivor Proof of Claim?

If you have not previously submitted a proof of claim, you need to submit a Sexual Abuse Survivor Proof of
Claim by 5:00 p.m. (Eastern Time) on November 16, 2020. You can use the enclosed form or you can
download one and send it electronically through the link below or by mail at the address below. If you have
questions you can contact your attorney or call 1-866-907-2721 to speak to the Claims Agent. The Claims
Agent can provide information about how to file a claim, but cannot offer any legal advice.

Please send your Sexual Abuse Survivor Proof of Claim to one of the following:

     By Mail, Overnight Courier or Hand Delivery               Through the Bankruptcy Case Website
              BSA Abuse Claims Processing
                c/o Omni Agent Solutions
                                                                  Go to www.OfficialBSAClaims.com
              5955 De Soto Ave., Suite 100
               Woodland Hills, CA 91367


6.        Will my information be kept confidential?

Yes, subject to the limitations described below. The Bankruptcy Court has set up a procedure to protect your
privacy. In order to protect your privacy, please do not file your Sexual Abuse Survivor Proof of Claim with
the Bankruptcy Court. Instead, you must file according to the directions above. Sexual Abuse Survivor Proofs
of Claim will not be available to the public unless you choose to release that information.

Unless you elect otherwise on the Sexual Abuse Survivor Proof of Claim, your identity and your Sexual Abuse
Survivor Proof of Claim will be kept confidential and outside the public record. However, information about
your Sexual Abuse Claim will be confidentially provided, pursuant to Bankruptcy Court-approved guidelines,
to the following parties:
      x Counsel and retained advisors to BSA;
      x Officers, directors, and employees of BSA necessary to assist BSA and their counsel in reviewing and
        analyzing the Sexual Abuse Claims;

      x The Claims Agent (Omni Agent Solutions);

      x The Tort Claimants’ Committee;

      x   Counsel to the Ad Hoc Committee of Local Councils (with all personally identifiable information
          redacted);

      x   Individual BSA Local Councils solely with respect to Sexual Abuse Claims asserted against them;



     QUESTIONS? CALL 1-866-907-2721, EMAIL BSAINQUIRIES@OMNIAGNT.COM, OR VISIT WWW.OFFICIALBSACLAIMS.COM

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     x The Office of the United States Trustee for the District of Delaware;

     x The United States Bankruptcy Court for the District of Delaware;

     x Certain insurers of BSA, including authorized claims administrators of such insurers and their reinsurers
       and counsel;

     x The Future Claimants’ Representative;

     x Any special arbitrator, mediator, or claims reviewer appointed to review and resolve Sexual Abuse
       Claims;

     x Any trustee, or functional equivalent thereof, appointed to administer payments to holders of Sexual
       Abuse Claims;

     x Anyone with the express written consent of BSA, the Tort Claimants’ Committee appointed by this
       Court to represent holders of Sexual Abuse Claims, and the Future Claimants’ Representative upon 7
       business days’ notice to holders of Sexual Abuse Claims; and
     x Such other persons that the Court determines need the information in order to evaluate Sexual Abuse
       Claims.

Please note that information in your Sexual Abuse Survivor Proof of Claim may be disclosed to governmental
authorities under mandatory reporting laws in many jurisdictions.

                                       ADDITIONAL INFORMATION

7.      Where can I get support?

BSA will continue to fund in-person counseling for any current or former Scout or member of their family by a
provider of their choice, when they are ready to take that step. To UHTXHVWௗ LQ-person counseling, please
call 1-866-907-2721 or email restructuring@scouting.org.

8.      How do I report my sexual abuse to the authorities?

Reporting the sexual abuse protects other children by ensuring that perpetrators are barred from Scouting and
are reported to law enforcement. You can learn more about how to report the sexual abuse at
https://childwelfare.gov/topics/responding/reporting/hoh/. If you have not previously reported the sexual abuse
to BSA, please call 1-866-907-2721 or email restructuring@scouting.org.

Please know that reporting sexual abuse is different than filing a claim in BSA’s bankruptcy case.




     QUESTIONS? CALL 1-866-907-2721, EMAIL BSAINQUIRIES@OMNIAGNT.COM, OR VISIT WWW.OFFICIALBSACLAIMS.COM

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9.        What could be released under the plan of reorganization?

Please note that only BSA is a debtor in BSA’s chapter 11 proceeding and other third parties, such as the
BSA Local Councils and chartered organizations, are not. If you believe you may have a claim against
one of these organizations, you must take additional legal action to preserve and pursue such claim.

The chapter 11 plan of reorganization may contain broad releases of BSA and certain third parties and related
injunction provisions. If approved, these provisions could release claims you hold against BSA and certain
third parties, including against BSA Local Councils and organizations that sponsored your troop or pack. Also
if approved, these provisions would prohibit you from filing lawsuits against BSA and certain third parties
related to any Sexual Abuse Claim. Instead, a proposed chapter 11 plan for BSA could channel these claims to
a trust for Sexual Abuse Survivors. Please note that a chapter 11 plan has not yet been proposed for solicitation
or agreed to by any parties in interest in BSA’s chapter 11 proceeding. Once it becomes available for
solicitation, you should carefully review the full text of the plan of reorganization release, injunction, and
related provisions and any applicable release provision at www.OfficialBSAClaims.com.

10.       What happens if I do not file a Sexual Abuse Survivor Proof of Claim?

If you fail to submit a completed Sexual Abuse Survivor Proof of Claim to the Claims Agent on or before
November 16, 2020, you may not be able to:
      x   vote on BSA’s plan of reorganization; or
      x   receive any compensation in BSA bankruptcy case for your Sexual Abuse Claim.

      YOU MAY WANT TO CONSULT WITH AN ATTORNEY REGARDING THIS NOTICE AND
        WHETHER YOU SHOULD FILE A SEXUAL ABUSE SURVIVOR PROOF OF CLAIM.




      QUESTIONS? CALL 1-866-907-2721, EMAIL BSAINQUIRIES@OMNIAGNT.COM, OR VISIT WWW.OFFICIALBSACLAIMS.COM

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                                       Exhibit 3

                        Form of Abuse Claims Publication Notice
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Case 1:22-cv-01237-RGA
             Case 20-10343-LSS
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               Sexual Abuse Claims in Boy Scouts Bankruptcy

 Regardless of how old you are today or when the sexual abuse occurred,
`V\ULLK[VÄSL`V\YJSHPTI`WT,HZ[LYU;PTLVU5V]LTILY

The Boy Scouts of America (“BSA”) has filed bankruptcy in order to restructure its nonprofit organization
and pay Sexual Abuse Survivors. Please read this notice carefully as it may impact your rights against
BSA, BSA Local Councils and organizations that sponsored your troop or pack and provides information
about the case, In re Boy Scouts of America and Delaware BSA, LLC, No. 20-10343 (Bankr. D. Del.). This
notice is a short summary. For more detail, visit www.OfficialBSAClaims.com or call 1-866-907-2721.

                             Who Should File a Sexual Abuse Claim?
Anyone who was sexually abused during their time in Scouting, on or before February 18, 2020,
must file a claim. This includes sexual abuse in connection with Boy Scouts, Cub Scouts, or any entity or
activity associated with Scouting. Sexual Abuse Claims include, but are not limited to: sexual misconduct,
exploitation, or touching, sexual comments about a person or other behaviors that led to abuse, even if the
behavior was not sexual or against the law, and regardless of whether you thought the behavior was sexual
abuse or not. These acts could be between a: (1) child and an adult or (2) child and another child.

                     When and How Should I File a Sexual Abuse Claim?
You should file a claim using the Sexual Abuse Survivor Proof of Claim by November 16, 2020 at 5:00 p.m.
(Eastern Time). If you do not file a timely Sexual Abuse Claim, you may lose rights against BSA, BSA
Local Councils or organizations that sponsored your troop or pack, including any right to compensation.
Only BSA is in bankruptcy. If you have a claim against the BSA Local Councils or other
organizations, you must take additional legal action to preserve and pursue your rights.
Your information will be kept private. You can download and file a claim at www.OfficialBSAclaims.
com or call 1-866-907-2721 for help on how to file a claim by mail. Scouting participants who were at
least 18 years of age at the time the sexual abuse began may also have claims related to sexual abuse and
should consult the appropriate claim form at www.OfficialBSAclaims.com.
                                (*;56>)LMVYL;PTL9\UZ6\[!

                CLAIM
                                                                                         WWW.




                 ࠮
           File a Sexual                          ࠮
                                   If your claim is approved, you                    ࠮
                                                                             Have questions?
          Abuse Survivor             may receive compensation            Call or visit the website
          Proof of Claim.               from the bankruptcy.              for more information.

If a plan to reorganize BSA is approved, it could release claims you hold against certain third parties,
including against BSA Local Councils and organizations that sponsored your troop or pack. Please
visit the website to learn more.
                                           6[OLY:\WWVY[
BSA will fund in-person counseling for current or former Scouts or their family. To request in-person
counseling, please call 1-866-907-2721 or email restructuring@scouting.org.

                                Your information will be kept private.


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                                        Exhibit 4

                            Form of AbuseClaims Email Notice
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  To:
  From: BSAInquiries@omniagnt.com
  Re: Boys Scouts of America Bankruptcy Deadline

                    Sexual Abuse Claims in Boy Scouts of America Bankruptcy
                  Sexual Abuse Survivors Need to File Claims by November 16, 2020
                            Una versión en español de este aviso está disponible en
                          www.OfficialBSAclaims.com o llamando al 1-866-907-2721.
  The Boy Scouts of America (“BSA”) has filed bankruptcy in order to restructure its nonprofit business and pay
  Sexual Abuse Survivors. Please read this notice carefully as it may impact your rights against BSA, BSA Local
  Councils and organizations that sponsored your troop or pack. This notice provides information about the
  bankruptcy case, In re Boy Scouts of America and Delaware BSA, LLC, No. 20-10343 (Bankr. D. Del.). Go to
  www.OfficalBSAclaims.com or call 1-866-907-2721 for more information.

      We encourage Sexual Abuse Survivors, regardless of how old they are today or when the sexual abuse
                                         happened, to file claims.

                                    Who Should File a Sexual Abuse Claim?
  Anyone who was sexually abused during their time in Scouting, on or before February 18, 2020, must file a
  claim. This includes sexual abuse in connection with Boy Scouts, Cub Scouts, or any entity or activity associated
  with Scouting.

  Sexual Abuse Claims include, but are not limited to: sexual misconduct, exploitation, or touching, sexual comments
  about a person or other behaviors that led to abuse, even if the behavior was not sexual or against the law, and
  regardless of whether you thought the behavior was sexual abuse or not. These acts could be between a: (1) child
  and an adult or (2) child and another child.

                             When and How Should I File a Sexual Abuse Claim?
  You should file a claim using the Sexual Abuse Survivor Proof of Claim Form by November 16, 2020 at 5:00 p.m.
  (Eastern Time). If you do not file a timely Sexual Abuse Claim, you may lose rights against BSA, BSA Local
  Councils, or organizations that sponsored your troop or pack, including any right to compensation. Only
  BSA is in bankruptcy. If you have a claim against the BSA Local Councils or other organizations, you must take
  additional legal action to preserve and pursue your rights.

  Your information will be kept private. You can download and file a claim at www.OfficialBSAclaims.com or call
  1-866-907-2721 for help on how to file a claim by mail. Scouting program participants who were at least eighteen
  (18) years of age at the time the sexual abuse began may also have claims related to sexual abuse and should consult
  the appropriate claim form at www.OfficalBSAclaims.com.

                                        Act Now Before Time Runs Out:
      x   File a Sexual Abuse Survivor Proof of Claim.
      x   If your claim is approved, you may receive compensation from the bankruptcy.
      x   Have questions? Call or visit the website for more information.

  Register your email address at www.OfficialBSAclaims.com to receive important case information. If a plan to
  reorganize BSA is approved, it could release claims you hold against certain third parties, including against
  BSA Local Councils and organizations that sponsored your troop or pack. Please visit the website to review the
  plan of reorganization and to learn more.

                                                   Other Support
  BSA will fund in-person counseling for current or former Scouts or their family. To request in-person counseling,
  please call 1-866-907-2721 or email restructuring@scouting.org.

                                     Your information will be kept private.
                   www.OfficialBSAclaims.com                                      1-866-907-2721
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                                      Exhibit 5

                            Form of Abuse Claims TV Spot
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  BSA :30 Second TV Script
  72 words

  VO:

  This is an important message for all current and former Boy Scouts and volunteers.

  The Boy Scouts of America have declared bankruptcy.

  If you were sexually abused in Scouting, you could receive compensation, but you must file a
  claim in the bankruptcy case by November 16, 2020

  You may file a Sexual Abuse Claim regardless of your current age or the year the sexual abuse
  occurred.

  For more information, visit OfficialBSAclaims.com or call 1-866-907-2721.

  Disclaimer language for last frame of TV (only appears on screen and not in VO): Paid for
  by the Boy Scouts of America by order of the U.S. Bankruptcy Court.
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                                      Exhibit 6

                             General Proof of Claim Form
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 UNITED STATES BANKRUPTCY COURT DISTRICT OF DELAWARE
Fill in the information to identify the case (Select only one Debtor per form):

      ,QUHBoy Scouts of America Case No. 20- /66
      ,QUHDelaware BSA, LLC Case No. 20- /66




Official Form 410
Proof of Claim                                                                                                                                                        04/19
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. :LWKWKHH[FHSWLRQRIFODLPV
XQGHUVHFWLRQ E  Go not use this form to make a request for payment of an administrative expense. Make such a requestaccording to 11
U.S.C. § 503.7KLV IRUP VKRXOG QRW EH XVHG LI \RX KDYH D FODLP DULVLQJ IURP VH[XDO DEXVH DQG \RX ZHUH XQGHU WKH DJH RI HLJKWHHQ   DW WKH
WLPH WKH VH[XDODEXVHEHJDQ,I\RXKDYHVXFKDFODLP\RXPXVWILOHD6H[XDO$EXVH6XUYLYRU3URRIRI&ODLP)RUPRUHLQIRUPDWLRQRQKRZWRILOH
D6H[XDO$EXVH6XUYLYRU3URRIRI&ODLPJRWRZZZRIILFLDOEVDFODLPVFRP
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any documents
that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,mortgages, and
security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available, explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.




   Part 1:      Identify the Claim
1. Who is the current creditor?
                                           Name of the current creditor (the person or entity to be paid for this claim)

                                           Other names the creditor used with the debtor


2. Has this claim been acquired               No
   from someone else?                         Yes     From whom?

3. Where should notices and                Where should notices to the creditor be sent?                        Where should payments to the creditor be sent? (if
   payments to the creditor be                                                                                  different)
   sent?

   Federal Rule of                          Name                                                                 Name
   Bankruptcy Procedure
   (FRBP) 2002(g)
                                            Number          Street                                               Number          Street


                                            City                            State               ZIP Code         City                          State              ZIP Code


                                           Contact Phone                                                         Contact Phone

                                           Contact email                                                         Contact email

                                           Uniform claim identifier for electronic payments in chapter 13 (if you use one)



4. Does this claim amend one                  No
   already filed?                             Yes      Claim Number on court claims registry (if known)                                   Filed On
                                                                                                                                                     MM / DD / YYYY

5. Do you know if anyone else
                                              No
   has filed a proof of claim for
   this claim?                                Yes     Who made the earlier filing?




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   Part 2:     Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number you          No
   use to identify the debtor?
                                        Yes      Last 4 digits of the debtor's account or any number you use to identify the debtor:


7. How much is the claim?                   $                                            Does this amount include interest or other charges?
                                                                                           No
                                                                                           Yes       Attach statement itemizing interest, fees, expenses, or other
                                                                                                     charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the              Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                         Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                         Limit disclosing information that is entitled to privacy, such as health care information




9. Is all or part of the claim    No
   secured?                       Yes       The claim is secured by a lien on property

                                          Nature of property:
                                                Real Estate If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
                                                             Attachment (Official Form 410-A) with this Proof of Claim
                                                Motor Vehicle

                                                Other      Describe:


                                            Basis for perfection:
                                            Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for example,
                                            a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has been filed or
                                            recorded.


                                            Value of Property:                                 $
                                            Amount of the claim that is secured:               $

                                            Amount of the claim that is unsecured:             $                            (The sum of the secured and
                                                                                                                            unsecured amounts should match the
                                                                                                                            amount in line 7).


                                            Amount necessary to cure any default as of the date of the petition:                $


                                            Annual Interest Rate:      (when case was filed)       ____________%
                                                Fixed
                                                Variable



10. Is this claim based on a      No
    lease?                        Yes       Amount necessary to cure any default as of the date of the petition.                $

11. Is this claim subject to a    No
    right of setoff?              Yes       Identify the property:


12. Is this claim for the value   No
    of goods received by the      Yes       Amount of 503(b)(9) Claim: $
    debtor within 20 days
    before the
    commencement date of
    this case (11 U.S.C.
    §503(b)(9)).?



 Official Form 410                                                      Proof of Claim                                                          Page 2
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13. Is all or part of the claim      No
    entitled to priority under                                                                                                                 Amount entitled to priority
                                     Yes      Check all that apply
    11 U.S.C. § 507(a)?
                                          Domestic support obligations (including alimony and child support) under
                                          11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                               $
    A claim may be partly
    priority and partly
                                          Up to $3,025* of deposits toward purchase, lease, or rental of property or services for
    nonpriority. For example,
                                          personal, family, or household use. 11 U.S.C. § 507(a)(7).                                           $
    in some categories, the
    law limits the amount
                                          Wages, salaries, or commissions (up to $13,650*) earned within 180 days before the
    entitled to priority.
                                          bankruptcy petition is filed or the debtor's business ends, whichever is earlier. 11                 $
                                          U.S.C. § 507(a)(4).

                                          Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                $

                                          Contributions to an employee benefit plan 11 U.S.C. § 507(a)(5).                                     $


                                          Other. Specify subsection of 11 U.S.C. § 507(a)(___) that applies.                                   $

                                     * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.




   Part 3:         Sign Below
The person completing             Check the appropriate box:
this proof of claim must
                                     I am the creditor.
sign and date it.
FRBP 9011(b).                        I am the creditor's attorney or authorized agent.
                                     I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
If you file this claim
electronically, FRBP                 I am the guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
5005(a)(2) authorizes
courts to establish local         I understand that an authorized signature on this Proof of Claim serves as an acknowlegment that when calculating the
rules specifying what a
signature is.                     amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.

                                  I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
A person who files a              and correct.
fraudulent claim could be
fined up to $500,000,             I declare under penalty of perjury that the foregoing is true and correct.
imprisoned for up to 5
years, or both.
18 U.S.C. §§ 152, 157, and        Executed on date
3571.                                                  MM / DD / YYYY



                                     Signature


                                  Print the name of the person who is completing and signing this claim:

                                  Name
                                                       First Name                           Middle Name                         Last Name


                                  Title

                                  Company
                                                       Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address
                                                       Number               Street



                                                       City                                              State                ZIP Code



                                  Contact Phone                                                          Email




 Official Form 410                                                     Proof of Claim                                                                Page 3
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Official Form 410
Instructions for Proof of Claim
United States Bankruptcy Court                                                                                               12/15


These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors
do not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
especially if you are unfamiliar with the bankruptcy process and privacy regulations.


  A person who files a fraudulent claim could be fined up
  to $500,000, imprisoned for up to 5 years, or both.
  18 U.S.C. §§ 152, 157 and 3571.




How to fill out this form                                             A Proof of Claim form and any attached documents
                                                                        must show only the last 4 digits of any social security
 Fill in all of the information about the claim as of the              number, individual’s tax identification number, or
   date the case was filed.                                             financial account number, and only the year of any
                                                                        person’s date of birth. See Bankruptcy Rule 9037.
 Fill in the caption at the top of the form.
                                                                      For a minor child, fill in only the child’s initials and the
 If the claim has been acquired from someone else,                     full name and address of the child’s parent or
   then state the identity of the last party who owned the              guardian. For example, write A.B., a minor child (John
   claim or was the holder of the claim and who transferred             Doe, parent, 123 Main St., City, State). See Bankruptcy
   it to you before the initial claim was filed.                        Rule 9037.


 Attach any supporting documents to this form.
   Attach redacted copies of any documents that show that the   Confirmation that the claim has been filed
   debt exists, a lien secures the debt, or both. (See the
                                                                To receive confirmation that the claim has been filed, enclose a
   definition of redaction on the next page.)
                                                                stamped self-addressed envelope and a copy of this form<RX
   Also attach redacted copies of any documents that show       PD\YLHZDOLVWRIILOHGFODLPVLQWKLVFDVHE\YLVLWLQJWKH&ODLPV
   perfection of any security interest or any assignments or    $JHQW VZHEVLWHDWKWWSZZZRPQLDJHQWVROXWLRQVFRPEVDFODLPV.
   transfers of the debt. In addition to the documents, a
   summary may be added. Federal Rule of Bankruptcy
   Procedure (called “Bankruptcy Rule”) 3001(c) and (d).
                                                                Understand the terms used in this form
                                                                Administrative expense: Generally, an expense that arises after
 Do not attach original documents because
   attachments may be destroyed after scanning.
                                                                a bankruptcy case is filed in connection with operating,
                                                                liquidating, or distributing the bankruptcy estate.
                                                                11 U.S.C. § 503.
 If the claim is based on delivering health care goods
   or services, do not disclose confidential health care
   information. Leave out or redact confidential                Claim: A creditor’s right to receive payment for a debt that the
   information both in the claim and in the attached            debtor owed on the date the debtor filed for bankruptcy. 11
   documents.                                                   U.S.C. §101 (5). A claim may be secured or unsecured.
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Creditor: A person, corporation, or other entity to whom a          Secured claim under 11 U.S.C. §506(a): A claim backed by
debtor owes a debt that was incurred on or before the date the      a lien on particular property of the debtor. A claim is secured
debtor filed for bankruptcy. 11 U.S.C. §101 (10).                   to the extent that a creditor has the right to be paid from the
                                                                    property before other creditors are paid. The amount of a
                                                                    secured claim usually cannot be more than the value of the
Debtor: A person, corporation, or other entity who is in
bankruptcy. Use the debtor’s name and case number as shown          particular property on which the creditor has a lien. Any
                                                                    amount owed to a creditor that is more than the value of the
in the bankruptcy notice you received. 11 U.S.C. § 101 (13).
                                                                    property normally may be an unsecured claim. But exceptions
                                                                    exist; for example, see 11 U.S.C. § 1322(b) and the final
Evidence of perfection: Evidence of perfection of a security        sentence of 1325(a).
interest may include documents showing that a security
interest has been filed or recorded, such as a mortgage, lien,      Examples of liens on property include a mortgage on real
certificate of title, or financing statement.                       estate or a security interest in a car. A lien may be voluntarily
                                                                    granted by a debtor or may be obtained through a court
                                                                    proceeding. In some states, a court judgment may be a lien.
Information that is entitled to privacy: A Proof of Claim
form and any attached documents must show only the last 4
digits of any social security number, an individual’s tax           Setoff: Occurs when a creditor pays itself with money
identification number, or a financial account number, only the      belonging to the debtor that it is holding, or by canceling a
initials of a minor’s name, and only the year of any person’s       debt it owes to the debtor.
date of birth. If a claim is based on delivering health care
goods or services, limit the disclosure of the goods or services    Uniform claim identifier: An optional 24-character identifier
to avoid embarrassment or disclosure of confidential health         that some creditors use to facilitate electronic payment.
care information. You may later be required to give more
information if the trustee or someone else in interest objects to
                                                                    Unsecured claim: A claim that does not meet the
the claim.
                                                                    requirements of a secured claim. A claim may be unsecured in
                                                                    part to the extent that the amount of the claim is more than the
Priority claim: A claim within a category of unsecured              value of the property on which a creditor has a lien.
claims that is entitled to priority under 11 U.S.C. §507(a).
These claims are paid from the available money or
property in a bankruptcy case before other unsecured                Offers to purchase a claim
claims are paid. Common priority unsecured claims
include alimony, child support, taxes, and certain unpaid           Certain entities purchase claims for an amount that is less than
wages.                                                              the face value of the claims. These entities may contact
                                                                    creditors offering to purchase their claims. Some written
                                                                    communications from these entities may easily be confused
Proof of claim: A form that shows the amount of debt the
                                                                    with official court documentation or communications from the
debtor owed to a creditor on the date of the bankruptcy filing.
                                                                    debtor. These entities do not represent the bankruptcy court,
The form must be filed in the district where the case is
                                                                    the bankruptcy trustee, or the debtor. A creditor has no
pending.
                                                                    obligation to sell its claim. However, if a creditor decides to
                                                                    sell its claim, any transfer of that claim is subject to
Redaction of information: Masking, editing out, or deleting         Bankruptcy Rule 3001(e), any provisions of the Bankruptcy
certain information to protect privacy. Filers must redact or       Code (11 U.S.C. § 101 et seq.) that apply, and any orders of
leave out information entitled to privacy on the Proof of           the bankruptcy court that apply.
Claim form and any attached documents.




Do not file these instructions with your form.
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                                      Exhibit 7

                      Sexual Abuse Survivor Proof of Claim Form
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                              Document
                                    Doc49-1
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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


          In re:                                                     Chapter 11

          BOY SCOUTS OF AMERICA AND                                  Case No. 20-10343 (LSS)
          DELAWARE BSA, LLC, 1
                                                                     (Jointly Administered)
                                      Debtors.


                                  SEXUAL ABUSE SURVIVOR PROOF OF CLAIM
         This Sexual Abuse Survivor Proof of Claim must be submitted and received by 5:00 p.m. (Eastern Time) on November 16,
2020. Please carefully read the following instructions included with this SEXUAL ABUSE SURVIVOR PROOF OF CLAIM and
complete ALL applicable questions to the extent of your knowledge or recollection. If you do not know the answer to an open-ended
question, you can write “I don’t recall” or “I don’t know.” If a question does not apply, please write “N/A.” If you are completing
this form in hard copy, please write or type clearly using blue or black ink.

         The Sexual Abuse Survivor Proof of Claim must be delivered to Omni Agent Solutions, the Court-approved claims and
noticing agent (the “Claims Agent”), by either:

        (i)        Hand delivery, first class mail, or courier the original proof of claim to: BSA Abuse Claims Processing, c/o Omni
                   Agent Solutions, 5955 De Soto Ave., Suite 100, Woodland Hills, CA 91367, so that it is received on or before
                   November 16 , 2020 at 5:00 p.m. (Eastern Time); 2 or

        (ii)       Electronically using the interface available at: www.OfficialBSAClaims.com on or before November 16, 2020 at
                   5:00 p.m. (Eastern Time).

        Sexual Abuse Survivor Proofs of Claim sent by email or facsimile transmission will not be accepted.

          “You” and/or “Sexual Abuse Survivor” refers to the person asserting a Sexual Abuse Claim against the Boy Scouts of
America (“BSA”) related to the Sexual Abuse Survivor’s sexual abuse. For this claim to be valid, the Sexual Abuse Survivor must
sign this form. If the Sexual Abuse Survivor is deceased or incapacitated, the form must be signed by the Sexual Abuse Survivor’s
representative or the attorney for the Sexual Abuse Survivor’s estate. If the Sexual Abuse Survivor is a minor, the form must be
signed by the survivor’s parent or legal guardian or attorney. Any Sexual Abuse Survivor Proof of Claim signed by a representative
or legal guardian must attach documentation establishing such person’s authority to sign the claim for the Sexual Abuse Survivor.

                                                 Who Is a Sexual Abuse Survivor?

         For purposes of this Sexual Abuse Survivor Proof of Claim, the term Sexual Abuse Survivor refers to a person who was
sexually abused before turning eighteen (18) years of age.

                                    Who Should File a Sexual Abuse Survivor Proof of Claim?

         This Sexual Abuse Survivor Proof of Claim is only for people who were sexually abused before turning eighteen (18) years
of age and where the sexual abuse (defined below) occurred on or before February 18, 2020. This Sexual Abuse Survivor Proof of
Claim is the way you assert an unsecured claim against BSA seeking damages based on Scouting-related sexual abuse. Any person


1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification number, are as
follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address is 1325 West Walnut Hill
Lane, Irving, Texas 75038.
2
 If you are mailing your Sexual Abuse Survivor Proof of Claim, do not attach original documents with your Sexual Abuse Survivor
Proof of Claim.
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asserting a claim based on anything other than childhood sexual abuse should use the General Proof of Claim form (official
bankruptcy form 410).

                                                      What Is Sexual Abuse?

          For the purposes of this Sexual Abuse Survivor Proof of Claim, sexual abuse means, with respect to a child under the age of
eighteen (18) at the time of the sexual abuse, sexual conduct or misconduct, sexual abuse or molestation, sexual exploitation, sexual
touching, sexualized interaction, sexual comments about a person’s body, or other verbal or non-verbal behaviors that facilitated,
contributed to, or led up to abuse, regardless of whether or not such behavior was itself sexual or against the law, and regardless of
whether the child thought the behavior was sexual abuse at the time. Sexual abuse includes behavior between a child and an adult and
between a child and another child, in each instance without regard to whether such activity involved explicit force, whether such
activity involved genital or other physical contact, and whether the child associated the abuse with any physical, psychological, or
emotional harm. It involves behaviors including penetration or fondling of the child’s body, other body-on-body contact, or non-
contact, behaviors such as observing or making images of a child’s naked body, showing or making pornography, or having children
behave in sexual behavior as a group.

          If you have a claim arising from sexual abuse and you were at least eighteen (18) years of age at the time the sexual abuse
began or if you have a claim arising from other types of abuse, including non-sexual physical abuse, non-sexual emotional abuse,
bullying or hazing, you should consult the Notice of Deadlines Requiring Filing of Proof of Claim and file a General Proof of Claim
(Official Bankruptcy Form 410).

         For the avoidance of doubt, if you have a claim for sexual abuse and you were a child under the age of eighteen (18) when
the sexual abuse began you must complete this form.

                                  You May Wish to Consult an Attorney Regarding This Matter.

         You may also obtain information from the Claims Agent by: (1) calling toll free at 866-907-2721, (2) emailing at
BSAInquiries@omniagnt.com, or (3) visiting the case website at www.OfficialBSAClaims.com (do not contact the Claims Agent for
legal advice).

                                                   What If I Don’t File on Time?

        Failure to complete and return this Sexual Abuse Survivor Proof of Claim by November 16, 2020 at 5:00 p.m.
(Eastern Time) may result in your inability to vote on a plan of reorganization and/or to receive a distribution from this
bankruptcy for sexual abuse related to BSA.

Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§
152, 157 and 3571.


                                                  PART 1: CONFIDENTIALITY

         Unless you indicate below, your identity and your Sexual Abuse Survivor Proof of Claim will be kept confidential, under
seal, and outside the public record. However, information in this Sexual Abuse Survivor Proof of Claim will be confidentially
provided, pursuant to Court-approved guidelines, to the Debtors, the Debtors’ counsel and retained advisors, certain insurers of BSA,
the Tort Claimants’ Committee, counsel to the Ad Hoc Committee of Local Councils (with personally identifiable information
redacted), individual Local Councils solely with respect to Sexual Abuse Claims asserted against them, attorneys at the Office of the
United States Trustee for the District of Delaware, the Future Claimants’ Representative, the Court, and confidentially to such other
persons that the Court determines need the information in order to evaluate the claim. Information in this Sexual Abuse Survivor Proof
of Claim may be required to be disclosed to governmental authorities under mandatory reporting laws in many jurisdictions.

        This Sexual Abuse Survivor Proof of Claim (along with any accompanying exhibits and attachments) will be
maintained as confidential unless you expressly request that it be publicly available by checking the “public” box and signing
below.


    季     季PUBLIC: I want my identity and this Sexual Abuse Survivor Proof of Claim (together with any exhibits and attachments) to
          be made part of the official claims register in these cases. My claim will be available for review by any and all members
          of the public.

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Signature:      ____________________________________________________________

Print Name: ____________________________________________________________




                                             PART 2: IDENTIFYING INFORMATION

    A.        Identity of Sexual Abuse Survivor

First Name ____________________ Middle Initial _____ Last Name ____________________ Jr/Sr/III _____

Mailing Address (If Sexual Abuse Survivor is incapacitated, is a minor, or is deceased, provide the address of the individual
submitting the claim. If you are in jail or prison, provide the address of your place of incarceration):

Number and Street:
City:                                                   State:                          Zip Code:
Country (not USA):                                      Email Address:
Telephone (Home):                                       Telephone (Cell):

For communications regarding this claim you may use (check the appropriate boxes):
Email          US Mail        Home Voicemail              Cell Voicemail          Counsel listed below

Social Security Number of Sexual Abuse Survivor (last four digits only): XXX-XX-__ __ __ __

If the Sexual Abuse Survivor is in jail or prison, provide the Sexual Abuse Survivor’s identification number: ____________________

Birthdate of Sexual Abuse Survivor (only the month and year): (MM/YYYY):          __ __ / __ __ __ __

Any other name, or names, by which the Sexual Abuse Survivor has ever been known: ______________________________________

____________________________________________________________________________________________________________

Gender of Sexual Abuse Survivor: Male                Female           Other (specify) ____________________

    B.        If you have hired an attorney relating to the sexual abuse described in this Sexual Abuse Survivor Proof of Claim,
              please provide his or her name and contact information:

Law Firm Name:
Attorney’s Name:
Number and Street:
City:                                                   State:                          Zip Code:
Country (not USA):                                      Email Address:
Telephone (Work):                                       Fax No.



                          PART 3: BACKGROUND INFORMATION FOR SEXUAL ABUSE SURVIVOR

    A.        Marital/Domestic Partner History:

                a.   Have you ever been married?       Yes           No
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       b.   If yes, please provide:

                  i. Length of time you were/have been married: _______________________

                  ii. Current marital status: _________________________________________

       c.   If your marriage has ended, please specify whether your marriage ended by: divorce   or death of your spouse

B.   Education History:

       a.   What is your highest level of education completed or degree obtained?

            High School        Associates       Bachelors       Masters   Doctoral    Other ________

       b.   Educational institution(s): ________________________________________________________

C.   Employment:

       a.   What is your current employment status:

               Employed – Occupation: __________________________________

               Retired – Former Occupation: ______________________________

                  Unemployed – Former Occupation: __________________________

               Disabled – Former Occupation: _____________________________

               Other: _________________________________________________

D.   Military service:

       a.   Have you ever served in the military? Yes           No

       b.   If yes, please provide the following information:

       c.   Branch(es) of service: ___________________________________________________________________________

       d.   Years of service in each: _________________________________________________________________________

       e.   Rank at discharge for each: _______________________________________________________________________

       f.   Nature of discharge for each (e.g., honorable): ________________________________________________________

            _____________________________________________________________________________________________

            _____________________________________________________________________________________________

E.   Involvement with Scouting:

       a.   Have you ever been affiliated with Scouting and/or a Scouting program?

            Yes           No

       b.   When were you involved with Scouting? ______________________________________________

            ________________________________________________________________________________

       c.   What type of Scouting unit (i.e., troop) were you involved with?

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                                    Boy Scouts ________________________________________________________

                                    Cub Scouts ________________________________________________________

                                    Exploring Scouts ___________________________________________________

                                    Sea Scouts ________________________________________________________

                                    Venturing _________________________________________________________

                                    Other (please explain your involvement with Scouting):

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____________________________________________________________________________________________________________

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                                          PART 4: NATURE OF THE SEXUAL ABUSE

                                               (Attach additional sheets if necessary)

         For each of the questions listed below, please complete your answers to the best of your recollection.

        Note: If you have previously filed a lawsuit about your Scouting-related sexual abuse in state or federal court, you may attach
a copy of the complaint. If you have not filed a lawsuit, or if the complaint does not contain all of the information requested below,
you must provide the information below to the extent of your recollection.

         Please answer each of the following questions to your best ability. If you do not know or recall, please so indicate.

         If you are the survivor of sexual abuse by more than one sexual abuser, please respond to each of the questions in this Part 4
for each sexual abuser.

    A.     Please answer “Yes” or “No” to each of the following:

            i.     Were you sexually abused by more than one person?         Yes           No

           ii.     Were you sexually abused in more than one state?          Yes           No

    B.    Please name each person who sexually abused you in relation to your involvement in Scouting. (“Scouting” includes Cub
          Scouts, Boy Scouts, Exploring Scouts, Sea Scouts and Venturing.)

          If you do not remember the name of the sexual abuser(s), provide as much identifying information about the sexual
          abuser(s) that you can recall, such as their approximate age and their relationship to Scouting (e.g., the Scoutmaster of
          Troop 100, another Troop member of Troop 200, camp staff member, etc.).

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   C.   Other than the sexual abuser(s), please identify any person(s) you can remember who were leaders or other adults involved
        in your Scouting unit or the camp(s) you attended.

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   D.    What was each sexual abuser’s position, title, or relationship to you in Scouting (check all that apply)?

                    Adult Scout leader in my Scouting unit

                    Adult Scout leader not in my Scouting unit

                    Youth Scout in my Scouting unit

                    Youth Scout not in my Scouting unit

                    Camp personnel (e.g., camp staff) not in my Scouting unit

                    I don’t know

                    Other (please explain why you believe the person(s) who sexually abused you had a relationship with Scouting):

____________________________________________________________________________________________________________

____________________________________________________________________________________________________________

____________________________________________________________________________________________________________

   E.   Where were you at the time you were sexually abused (city, state, territory and/or country)?

         __________________________________________________________________________________________________

   F.   What was the type of Scouting you were involved with during the sexual abuse (check all that apply)?

                     Boy Scouts

                     Cub Scouts

                     Exploring Scouts

                     Venturing

                     Sea Scouts

                     Other (please explain why you believe you had a connection to Scouting during the sexual abuse):

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   G.    What was the Scouting unit number and physical location (city, state, territory and/or country) of the Scouting unit(s) or
         provisional troop you were in during the time of the sexual abuse?

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   H.    What was the name and location (city, state, territory and/or country) of the organization that chartered or sponsored your
         Scouting unit, including the organization that hosted meetings of your Scouting unit, during the time of the sexual abuse
         (e.g., church, school, religious institution, or civic group)?

         (Note that such organizations are not currently parties to the bankruptcy so if you believe you may have a claim against any
         such organization you must take additional action to preserve and pursue any such claim.)

____________________________________________________________________________________________________________

   I.   What was the name of the BSA Local Council(s) affiliated with your Scouting unit(s), any Boy Scout camp or other
        Scouting activity during the time of the sexual abuse?

        (Note that such BSA Local Councils are not currently parties to the bankruptcy so if you believe you may have a claim
        against any such BSA Local Council(s) you must take additional action to preserve and pursue any such claim.)

____________________________________________________________________________________________________________

   J.   In which of the following places did the sexual abuse take place? Check all that apply.

                     At or in connection with a Scout meeting.

                     At or in connection with a Scout camp.

                     At or in connection with another Scouting-related event or activity (please explain):

                     _________________________________________________________________________________________

                     Other (please explain – for example, schools, churches, cars, homes or other locations):

                     _________________________________________________________________________________________

                     _________________________________________________________________________________________

                     _________________________________________________________________________________________

   K.    When did the first act of sexual abuse take place? If you do not remember the calendar date, what school grade were you in
         at the time and what season of the year was it (spring, summer, fall, winter), and what age were you when it started? If the
         sexual abuse took place over a period of time, please state when it started and when it stopped. If you were sexually
         abused by more than one sexual abuser indicate when the sexual abuse by each of the sexual abusers started and stopped.

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   L.    Please describe what happened to you. You can provide a description in your own words and/or use the checkboxes below.

         i.    About how many times were you sexually abused?

                     I was sexually abused once.

                     I was sexually abused more than once.

         If you were sexually abused more than once, please state how many times (if you recall): ___________________________

____________________________________________________________________________________________________________




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   M.   Please describe what happened to you. You can provide a description in your own words and/or use the checkboxes below.
        (Check all that apply.) Please note that the boxes are not meant to limit the characterization or description of your
        sexual abuse.

          i.   What did the sexual abuse involve?

                    The sexual abuse involved touching outside of my clothing.

                     The sexual abuse involved touching my bare skin.

                     The sexual abuse involved fondling or groping.

                     The sexual abuse involved masturbation.

                     The sexual abuse involved oral copulation / oral sex.

                     The sexual abuse involved the penetration of some part of my body.

         ii.   Did any of the following occur in connection with the sexual abuse:

                     The acts of sexual abuse against me also involved other youth.

                     The sexual abuse involved photographs or video.

                     Even though I did not want it, my body responded sexually to the sexual abuse.

                     The sexual abuse involved actual or implied threats of violence or other adverse consequences if I disclosed
                     the sexual abuse.

                     The sexual abuse involved gifts, privileges, experiences, and other rewards or bribes in addition to the
                     activities and awards normally part of Scouting.

                     The sexual abuser(s) made my family think they could be trusted.

                     At the time of the sexual abuse, my family or I had significant financial, social, behavioral or other challenges.

        If you wish to provide a narrative, please describe the sexual abuse in as much detail as you can recall in the lines below.
        You may attach additional pages if needed.

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   N.    Did you or anyone on your behalf tell anyone involved in Scouting about the sexual abuse at or about the time of the sexual
         abuse?     Yes         No

   O.   Did you or anyone on your behalf report the sexual abuse to law enforcement or investigators at or about the time of the
        sexual abuse? Yes         No

   P.   If you can remember anyone you may have ever told about the sexual abuse at the time, including anyone involved with
        Scouting, friends, relatives, and/or law enforcement, please list their name and when you told them.

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   Q.   Did you have any relationship with your sexual abuser outside of Scouting? Check all that apply:

                    Religious organization leader, member, volunteer

                    Family member or relative

                    Coach/athletics

                    Teacher

                    Neighbor

                    Other (please explain and add any other information you remember to the categories above):

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   R.   Are you aware of anyone who knew about the sexual abuse?

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                                           PART 5: IMPACT OF SEXUAL ABUSE

                                              (Attach additional pages if necessary)

         (If you currently cannot describe any harm you have suffered on account of the sexual abuse, you may omit this
section for now. However, you may be asked to provide the information requested at a later date.)

   A.    Please describe how you were impacted, harmed, damaged, or injured in ways that you now connect as being related to the
         sexual abuse you described above. (Check all that apply.) You can provide a description in your own words and/or use the
         checkboxes below. Please note that the boxes are not meant to limit the characterization or description of the
         impact(s) of your sexual abuse.

                    Psychological / emotional health (including depression, anxiety, feeling numb, difficulty managing or feeling
                    emotions including anger)

                    Post traumatic stress reactions (including intrusive images, feelings from the abuse, numbing or avoidance
                    behaviors)

                    Physical health (including chronic disease, chronic undiagnosed pain or physical problems)

                    Education (including not graduating high school, being unable to finish training or education)

                    Employment (including difficulties with supervisors, difficulty maintaining steady employment, being fired
                    from jobs)

                    Intimate relationships (including difficulty maintaining emotional attachments, difficulty with sexual behavior,
                    infidelity)

                    Social relationships (including distrust of others, isolating yourself, not being able to keep healthy relationships)

                    Alcohol and/or substance abuse (including other addictive behavior such as gambling)

                    Other (please explain and add any other information you remember to the categories above)

          If you wish to provide a narrative, please describe how you were impacted, harmed, damaged, or injured in ways that you
          now connect as being related to the sexual abuse you described above in as much detail as you can recall in the lines
          below. You may attach additional pages if needed.

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   B.    Have you ever sought counseling or other mental health treatment for any reason?

         Yes            No

         If your response to the prior question is “Yes,” please identify the name of each person who provided you with counseling
         or mental health treatment, their location, the type of counseling or treatment and the estimated dates/time period of
         counseling or treatment. If you were prescribed medication in connection with such counseling or mental health treatment,
         please list the name of the medication and how long you took that medication.

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                                     PART 6: ADDITIONAL INFORMATION

A.   Prior Litigation.

     i.    Was a lawsuit regarding the sexual abuse you have described in this Sexual Abuse Survivor Proof of Claim filed by
           you or on your behalf.
           Yes    No      (If “Yes,” you are required to attach a copy of the complaint.)
B.   Prior Bankruptcy Claims. Have you filed any claims in any other bankruptcy case relating to the sexual abuse you have
     described in this Sexual Abuse Survivor Proof of Claim? Yes  No       (If “Yes,” you are required to attach a copy of
     any completed claim form.)

C.   Payments. Have you received any payments related to the sexual abuse you have described in this Sexual Abuse Survivor
     Proof of Claim from any party, including BSA? Yes  No

     i.     If yes, how much and from whom? ________________________________________________________________

D.   Current Bankruptcy Case. Are you currently a debtor in a bankruptcy case? Yes             No

     i.     If yes, please provide the following information:

            Name of Case: ___________________________ Court: _______________________________

            Date filed: _______________________________ Case No. _____________________________

            Chapter: 7      11     12     13       Name of Trustee: ______________________________



                         [Signature page follows – you must complete and sign the next page]




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                                                            SIGNATURE

         To be valid, this Sexual Abuse Survivor Proof of Claim must be signed by you. If the Sexual Abuse Survivor is deceased
or incapacitated, the form must be signed by the Sexual Abuse Survivor’s representative or the attorney for the Sexual Abuse
Survivor’s estate. If the Sexual Abuse Survivor is a minor, the form must be signed by the Sexual Abuse Survivor’s parent or legal
guardian, or the Sexual Abuse Survivor’s attorney. (Any form signed by a representative or legal guardian must attach documentation
establishing such person’s authority to sign this form for the Sexual Abuse Survivor.)

Penalty for presenting a fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§
152, 157 and 3571.

Check the appropriate box:

         I am the Sexual Abuse Survivor.

         I am the Sexual Abuse Survivor’s attorney, guardian, kinship (or other authorized) caretaker, executor, or authorized
         representative.

         Other (describe): ______________________________________________________________________________________

I have examined the information in this Sexual Abuse Survivor Proof of Claim and have a reasonable belief that the
information is true and correct.

I declare under penalty of perjury that the foregoing statements are true and correct.

Date:             ____________________________________

Signature:        ____________________________________

Print Name:       ____________________________________

Relationship to Sexual Abuse Survivor (if not signed by Sexual Abuse Survivor):               ________________________________

Address:          _____________________________________________________________________________________________

                  _____________________________________________________________________________________________

Contact Phone: ____________________________________

Email:            ____________________________________




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                                       Exhibit 8

                           Form of Confidentiality Agreement
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


  In re:                                                         Chapter 11

  BOY SCOUTS OF AMERICA AND                                      Case No. 20-10343 (LSS)
  DELAWARE BSA, LLC, 1
                                                                 (Jointly Administered)
  Debtors.


                     PERMITTED PARTY CONFIDENTIALITY AGREEMENT

  This Agreement (the “Agreement”) is entered into as of ____________, 2020 by ____________
  (the “Recipient”), a Permitted Party pursuant to paragraph 6 of the Order, Pursuant to 11 U.S.C.
  § 502(b)(9), Bankruptcy Rules 2002 and 3003(c)(3), and Local Rules 2002-1(e), 3001-1, and
  3003-1, (I) Establishing Deadlines for Filing Proofs of Claim, (II) Establishing the Form and
  Manner of Notice Thereof, (III) Approving Procedures for Providing Notice of Bar Date and
  Other Important Information to Abuse Survivors, and (IV) Approving Confidentiality Procedures
  for Abuse Survivors [Docket No. >Ɣ@] (the “Bar Date Order”) entered on >Ɣ@ by the United States
  Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) in Case No. 20-10343
  (LSS), In re Boy Scouts of America and Delaware BSA, LLC (the “Chapter 11 Cases”).

  WHEREAS, the Recipient will be granted access to certain confidential Sexual Abuse Survivor
  Proofs of Claim, General Proofs of Claim submitted on behalf of minors, and/or General Proofs
  of Claim submitted by individuals holding claims arising from sexual abuse who were at least
  eighteen (18) years of age at the time the sexual abuse began in the Chapter 11 Cases after
  execution of this Agreement pursuant to and in accordance with the terms of the Order;

  WHEREAS, Recipient agrees to keep the information provided in any and all Sexual Abuse
  Survivor Proofs of Claim, General Proofs of Claim submitted on behalf of minors, and/or General
  Proofs of Claim submitted by individuals holding claims arising from sexual abuse who were at
  least eighteen (18) years of age at the time the sexual abuse began confidential pursuant to and in
  accordance with the terms of the Order and this Agreement.

  NOW THEREFORE, IT IS AGREED AS FOLLOWS:

           (1)      The Recipient agrees to keep the information provided in the Sexual Abuse
                    Survivor Proofs of Claim, General Proofs of Claim submitted on behalf of minors,
                    and/or General Proofs of Claim submitted by individuals holding claims arising
                    from sexual abuse who were at least eighteen (18) years of age at the time the



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   The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
  number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
  address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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               sexual abuse began confidential pursuant to and in accordance with the terms of
               the Order.

        (2)    Recipient agrees to not distribute any Sexual Abuse Survivor Proofs of Claim,
               General Proofs of Claim submitted on behalf of minors, General Proofs of Claim
               submitted by individuals holding claims arising from sexual abuse who were at
               least eighteen (18) years of age at the time the sexual abuse began, or information
               provided in such claims in violation of the Confidentiality Protocol in the Order.

        (3)    Recipient will only communicate information from the confidential Sexual Abuse
               Survivor Proofs of Claim, General Proofs of Claim submitted on behalf of minors,
               and/or General Proofs of Claim submitted by individuals holding claims arising
               from sexual abuse who were at least eighteen (18) years of age at the time the
               sexual abuse began with other Permitted Parties, as defined in the Bar Date Order.

        (4)    Recipient consents to the jurisdiction of the Court to adjudicate any violation of
               this Agreement or the Order.

        (5)    Recipient shall promptly report any disclosure of information from a confidential
               Sexual Abuse Survivor Proof of Claim, General Proof of Claim submitted on
               behalf of a minor, or General Proof of Claim submitted by an individual holding a
               claim arising from sexual abuse who was at least eighteen (18) years of age at the
               time the sexual abuse began to the Debtors, the Tort Claimants’ Committee, and
               the Creditors’ Committee, and shall cooperate with efforts to recover the
               information and/or mitigate the effects of the disclosure.


  Dated: This __ day of _________, 2020


        Signature:                              ______________________________________

        Print Name:                             ______________________________________

        Name of Permitted Party:                ______________________________________




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